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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                          §
In re:                                                    § Chapter 11
                                                          §
NEIGHBORS LEGACY HOLDINGS, INC.,                          § Case No. 18-33836 (MI)
et al.,                                                   §
                                                          § (Jointly Administered)
                 Debtors.1                                §


                       SCHEDULES OF ASSETS AND LIABILITIES FOR
                   NEIGHBORS LEGACY HOLDINGS, INC. (CASE NO. 18-33836)




1
    Due to the large number of Debtors in these chapter 11 cases, a complete list of the Debtors and the last four
    digits of their tax identification numbers is not provided herein. A complete list of such information may be
    obtained on the website of the Debtors’ proposed claims and noticing agent at www.kccllc.net/neighbors. The
    location of Debtors’ principal place of business and the Debtors’ service address is: 10800 Richmond Avenue.
    Houston, Texas 77042.
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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                           §
In re:                                                     § Chapter 11
                                                           §
NEIGHBORS LEGACY HOLDINGS, INC.,                           § Case No. 18-33836
et al.,                                                    §
                                                           § Jointly Administered
                 Debtors. 1                                §

               NOTES REGARDING SCHEDULES OF ASSETS AND
            LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

        On July 12, 2018 and July 23, 2018 (collectively, the “Petition Date”), Neighbors
Legacy Holdings, Inc. and certain of its affiliates and subsidiaries (collectively, the
“Debtors”), each filed voluntary petitions for relief under chapter 11 of title 11 of the
United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for
the Southern District of Texas (the “Bankruptcy Court”). The Debtors’ cases are being
jointly administered under Case No. 18-33836.2

        With the assistance of their advisors, the Debtors’ management prepared the
annexed Schedules of Assets and Liabilities (the “Schedules”) and the Statement of
Financial Affairs (the “SOFAs” and together with the Schedules, the “Schedules and
SOFAs”) pursuant to section 521 of the Bankruptcy Code and Rule 1007 of the Federal
Rules of Bankruptcy Procedure. The Schedules and SOFAs are unaudited and do not
purport to represent financial statements prepared in accordance with Generally Accepted
Accounting Principles in the United States (“GAAP”), and they are they not intended to
be fully reconciled to the financial statements.

        Although the Debtors’ management has made every reasonable effort to ensure
that the Schedules and SOFAs are accurate and complete based on information that was
available to them at the time of preparation, subsequent information or discovery may

1
  Due to the large number of Debtors in these chapter 11 cases, a complete list of the Debtors and the last
four digits of their tax identification numbers is not provided herein. A complete list of such information
may be obtained on the website of the Debtors’ proposed claims and noticing agent at
www.kccllc.net/neighbors. The location of Debtors’ principal place of business and the Debtors’ service
address is: 10800 Richmond Avenue. Houston, Texas 77042.
2
  On July 23, 2018, NEC Beaumont Emergency Center, LP (Case No. 18-34031) and NEC Beaumont Asset
Holdings, LLC (Case No. 18-34030) each commenced a case by filing a petition for relief under Chapter 11
of the Bankruptcy Code (the “Beaumont Cases”). The Beaumont Cases are jointly administered with the
above-captioned case by Orders entered in each Beaumont Case Directing that Certain Orders in the
Chapter 11 Cases of Neighbors Legacy Holdings, Inc., et al. Apply to the Beaumont Cases (Docket No. 3
in NEC Beaumont Asset Holdings, LLC and Docket No. 4 in NEC Beaumont Emergency Center, LP).



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result in material changes to these Schedules and SOFAs, and inadvertent errors or
omissions may have occurred. These notes regarding the Debtors’ Schedules and SOFAs
(the “Notes”) comprise an integral part of the Debtors’ Schedules and SOFAs and should
be referenced in connection with any review of the Schedules and SOFAs. Nothing
contained in the Schedules and SOFAs shall constitute a waiver of any rights or claims of
the Debtors against any third party, or in or with respect to any aspect of these chapter 11
cases.

      1.      Amendments. The Debtors reserve the right to amend or supplement the
Schedules and SOFAs as necessary or appropriate.

         2.     Asset Presentation. Most assets of the Debtors are shown on the basis of
the Debtors’ book value, as of the Petition Date, and not on the basis of current market
values. Accordingly, the Debtors have listed the market value of certain assets and
liabilities as having an “unknown” value. The Debtors reserve their right to amend or
adjust the value of each asset or liability set forth herein.

        3.      Liabilities. Trade liabilities reflected on Schedule E/F are as set forth in
the Debtors’ books and records as of the Petition Date. The Debtors have sought to
allocate liabilities between the prepetition and postpetition periods based on the
information and research that was conducted in connection with the preparation of the
Schedules and SOFAs. As additional information becomes available and further research
is conducted, the allocation of liabilities between prepetition and postpetition periods may
change.

        4.      Causes of Action. Despite reasonable efforts, the Debtors might not have
identified or set forth all of their causes of action against third parties as assets in their
Schedules and SOFAs. The Debtors reserve any and all of their rights with respect to any
causes of action they may have, and neither these Notes nor the Schedules and SOFAs
shall be deemed a waiver of any such causes of action.

         5.      Claim Description. The Debtors reserve the right to dispute, or to assert
offsets or defenses to, any claim reflected on its Schedules and SOFAs as to amount,
liability, priority, secured or unsecured status, or classification, or to otherwise designate
any claim as “disputed,” “contingent” or “unliquidated” by filing and serving an
appropriate amendment. The Debtors reserve the right to amend their Schedules or
SOFAs as necessary or appropriate.

        6.     Property, Equipment and Inventory. The Debtors have not completed a
physical inventory or appraisal of their owned equipment, medical supply inventory or
other physical assets. Further, nothing in the Schedules or SOFAs (including, without
limitation, the failure to list leased property or equipment as owned property or
equipment) is or shall be construed as an admission as to the determination of legal status
of any lease (including whether any lease is a true lease or financing arrangement), and
the Debtors reserve all their rights with respect to such issues.



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        7.     Insurance. The Debtors maintain a variety of insurance policies
including property, general liability, and workers’ compensation policies and other
employee- related policies. The Debtors’ interest in these types of policies is limited to
the amount of the premiums that the Debtors have prepaid, if any, as of the Petition
Date. To the extent the Debtors have made a determination of the amount of prepaid
insurance premiums as of Petition Date such amounts are listed on Schedule B, Part 11,
Question 77. All policies are expected to remain in place through their expiration. In
addition, the Debtors reserve all rights to refunds of any overpayments of premiums paid
on their insurance policies.

        8.      Insiders. In the circumstances where the Bankruptcy Schedules require
information regarding insiders or officers and directors, included herein are each Debtor’s
(a) directors (or persons in similar positions) and (b) officers. The listing of a party as an
insider is not intended to be nor should it be construed as a legal characterization of such
party as an insider and does not act as an admission of any fact, claim, right or defense
and all such rights, claims and defenses are hereby expressly reserved. Further,
employees have been included in this disclosure for informational purposes only and
should not be deemed to be “insiders” in terms of control of the Debtors, management
responsibilities or functions, decision-making or corporate authority or as otherwise
defined by applicable law, including, without limitation, the federal securities laws, or
with respect to any theories of liability or for any other purpose.

         9.    Intercompany Payables and Receivables. Intercompany receivables and
payables are set forth on Schedules B and F, respectively. The listing by each Debtor of
any account between a Debtor and another affiliate is a statement of what appears in
the Debtors’ books and records and does not reflect any admission or conclusion
of any Debtor regarding the allowance, classification, characterization, validity, or
priority of such account. The Debtors periodically record intercompany amounts for
combined entities, which could result in discrepancies for allocation between legal
entities. The Debtors take no position in these Statements and Schedules as to whether
such accounts would be allowed as a Claim, an Interest, or not allowed at all. The
Debtors and all parties in interest reserve all rights with respect to such accounts.

       10.     Schedule A/B, Part 3, Question 11 – Accounts Receivable. The amount
shown for the current value of the accounts receivable has been reduced by an allowance
for doubtful accounts, which is based on historical collection experience, age of the
receivable, payor classification, and patient payment patterns.

        11.    Schedule A/B, Part 7 - Office Furniture Fixtures and Equipment and
Part 8 – Machinery and Equipment. The Debtors do not maintain itemized fixed asset
detail. The Debtors have not conducted a physical inventory or appraisal of any of their
owned equipment or other physical assets. Accordingly, the Debtors are unable to
provide detailed asset lists and related values other than aggregate book value.

       12.    Schedule D—Creditors Holding Secured Claims. The Debtors have
included claims asserted by lessors who have filed UCC-1 financing statements on


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Schedule D. The inclusion of such claims on Schedule D is not an admission of the
validity of the claim or the secured status asserted for such claim. Except as specifically
stated herein, real property lessors, utility companies and other parties which may hold
security deposits have not been listed on Schedule D. The Debtors have not included on
Schedule D all parties that may believe their claims are secured through setoff rights,
deposits posted by, or on behalf of, the Debtors, or inchoate statutory lien rights. While
reasonable efforts have been made, determination of the date upon which each claim in
Schedule D was incurred or arose would be unduly and cost prohibitive, and therefore,
the Debtors may not list a date for each claim listed on Schedule D.

        13.     Schedule E—Creditors Holding Unsecured Priority Claims. The
listing of any claim on Schedule E does not constitute an admission by the Debtors that
such claim is entitled to priority under section 507 of the Bankruptcy Code. The Debtors
reserve the right to dispute the priority status of any claim on any basis. While reasonable
efforts have been made, determination of the date upon which each claim in Schedule E
was incurred or arose would be unduly burdensome and cost prohibitive, and therefore,
the Debtors may not list a date for each claim listed on Schedule E.

        Certain of the claims of state and local taxing authorities set forth in Schedule E,
may ultimately be deemed to be secured claims pursuant to state or local laws. In
addition, certain of the claims owing to various taxing authorities to which any Debtor
may be liable may be subject to ongoing audits. The Debtors reserve the right to dispute
or challenge whether claims owing to various taxing authorities are entitled to priority
and the listing of any claim on Schedule E does not constitute an admission that such
claim is entitled to priority treatment pursuant to section 507 of the Bankruptcy Code.
       Additionally, the Debtors have not included employee-related priority claims that
existed as of the Petition Date to the extent that such claims have been or are approved
for payment pursuant to orders entered by the Bankruptcy Court [See Docket No. 198].

         14.    Schedule F—Creditors Holding Unsecured Nonpriority Claims. The
liabilities identified in Schedule F are derived from the Debtors’ books and records,
which may or may not, in fact, be completely accurate, but they do represent a reasonable
attempt by the Debtors to set forth their unsecured obligations. Parties in interest should
not anticipate that recoveries in these cases will reflect the relationship of aggregate asset
values and aggregate liabilities set forth in the Schedules and SOFAs. Parties in interest
should consult their own professionals or advisors with respect to pursuing a claim.
Although the Debtors and their professionals have generated financials the Debtors
believe to be reasonable, actual liabilities (and assets) may deviate from the Schedules
and SOFAs due to certain events that may occur throughout the duration of these chapter
11 cases.

        The claims listed on Schedule F arose or were incurred on various dates. In
certain instances, the date on which a claim arose may be unknown or subject to dispute.
Although reasonable efforts have been made to determine the date upon which claims
listed in Schedule F was incurred or arose, fixing that date for each claim in Schedule F


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would be unduly burdensome and cost prohibitive and, therefore, the Debtors may not
have listed a date for each claim listed on Schedule F.

         15.    Schedule G—Executory Contracts. Listing a contract or agreement on
Schedule G does not constitute an admission that such contract or agreement is an
executory contract or unexpired lease or that such contract or agreement was in effect on
the Petition Date or is valid or enforceable. The Debtors hereby reserve all of their rights
to dispute the validity, status, or enforceability of any contracts, agreements, or leases set
forth in Schedule G and to amend or supplement such Schedule as necessary. Certain of
the leases and contracts listed on Schedule G may contain certain renewal options,
guarantees of payment, options to purchase, rights of first refusal and other miscellaneous
rights. Such rights, powers, duties and obligations are not set forth separately on Schedule
G. In addition, the Debtors may have entered into various other types of agreements in
the ordinary course of their business, such as easements, right of way, subordination,
nondisturbance agreements, supplemental agreements, amendments/letter agreements,
title agreements and confidentiality agreements. Such documents are also not set forth in
Schedule G.

        The Debtors reserve all rights to dispute or challenge the characterization of the
structure of any transaction or any document or instrument related to a creditor’s claim.
The Debtors may be party to certain agreements that have expired by their terms, but all
parties continue to operate under the agreement. Out of an abundance of caution, the
Debtors have listed such agreements on Schedule G. The Debtors’ inclusion of such
contracts or agreements on Schedule G is not an admission that such contract or
agreement is an executory contract or unexpired lease.

        In some cases, the same supplier or provider may appear multiple times in
Schedule G. Multiple listings, if any, reflect distinct agreements between the applicable
Debtor and such supplier or provider. The Debtors reserve the right to dispute the
effectiveness of any such contract listed on Schedule G or to amend Schedule G at any
time to remove any contract.

       16.     Statement of Financial Affairs No. 2 and 13. Prepetition, the Debtors
sold excess inventory, equipment, furnishings and other miscellaneous items from its
closed centers to various parties on a piecemeal basis. The sales are accounted for in the
SOFA filed by Debtor EDMG, LLC (See response to Question No. 2). The Debtors did
not maintain itemized records of their de minimis asset sales.

        17.    Statement of Financial Affairs 26d – Financial Statements. In the
ordinary course of their business, the Debtors provided financial statements or certain
financial information to various parties for business, statutory, credit, financing and other
purposes. Recipients have included financial institutions, investment banks, and legal and
financial advisors. Financial statements were provided to the Debtors’ secured lender on
a monthly basis in accordance with the credit agreement.




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        18.    Specific Notes. These General Notes are in addition to the specific notes
set forth in the individual Schedules and SOFAs. Disclosure of information in one
Schedule, SOFA, exhibit, or continuation sheet even if incorrectly placed, shall be
deemed to be disclosed in the correct Schedule, SOFA, exhibit or continuation sheet.

        19.   Totals. All totals that are included in the Schedules represent totals of the
liquidated amounts for the individual schedule for which they are listed.

        20.    Unliquidated Claim Amounts. Claim amounts that could not be fairly
quantified by the Debtors are scheduled as “unliquidated” or “unknown.”

        21.     General Reservation of Rights. The Debtors specifically reserve the right
to amend, modify, supply, correct, change or alter any part of their Schedules and SOFAs
as and to the extent necessary as they deem appropriate.




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Fill in this information to identify the case:

Debtor Name: In re : Neighbors Legacy Holdings, Inc.

United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                                                                         Check if this is an
Case number (if known): 18-33836 (MI)                                                                                                                                                        amended filing


Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                            12/15


Part 1:        Summary of Assets

1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                        $                 0.00
     1a. Copy line 88 from Schedule A/B ...........................................................................................................................


     1b. Total personal property:
                                                                                                                                                                                        $                 0.00
     1b. Copy line 91A from Schedule A/B ..........................................................................................................................


     1c. Total of all property:
                                                                                                                                                                                        $                 0.00
     1c. Copy line 92 from Schedule A/B .............................................................................................................................



Part 2:       Summary of Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                        $                 0.00
     Copy the total dollar amount listed in Column A, Amount of claim,from line 3 of Schedule D .....................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                        $                 0.00
     3a. Copy the total claims from Part 1 from line 5a of Schedule E/F ............................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                                                                        +$                0.00
     3b. Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .................................................


4. Total liabilities
                                                                                                                                                                                        $                 0.00
     Lines 2 + 3a + 3b ..............................................................................................................................................................




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                              Page 1 of 1
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Fill in this information to identify the case:

Debtor Name: In re : Neighbors Legacy Holdings, Inc.

United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                          Check if this is an
Case number (if known): 18-33836 (MI)                                                                                        amended filing


Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.



For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.




Part 1:       Cash and cash equivalents

   1. Does the debtor have any cash or cash equivalents?

      5   No. Go to Part 2.
         Yes. Fill in the information below.

      All cash or cash equivalents owned or controlled by the debtor                                                Current value of debtor’s interest


   2. Cash on hand
                                                                                                                    $


   3. Checking, savings, money market, or financial brokerage accounts (Identify all)
      Name of institution (bank or brokerage firm)              Type of account   Last 4 digits of account number

                                                                                                                    $



   4. Other cash equivalents (Identify all)
                                                                                                                    $


  5. Total of Part 1
                                                                                                                    $                           0.00
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.




Official Form 206 A/B                            Schedule A/B: Assets - Real and Personal Property                                     Page 1 of 12
                        Case 18-33836 Document 456 Filed in TXSB on 09/08/18 Page 10 of 52
  Debtor:    Neighbors Legacy Holdings, Inc.                                                        Case number (if known):       18-33836
              Name


Part 2:     Deposits and prepayments
  6. Does the debtor have any deposits or prepayments?
    5 No. Go to Part 3.
     Yes. Fill in the information below.

                                                                                                                          Current value of debtor’s interest

 7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit
                                                                                                                          $


  8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment
                                                                                                                          $


9. Total of Part 2.
    Add lines 7 through 8. Copy the total to line 81.                                                                         $                         0.00




Official Form 206 A/B                           Schedule A/B: Assets - Real and Personal Property                                            Page 2 of 12
                         Case 18-33836 Document 456 Filed in TXSB on 09/08/18 Page 11 of 52
   Debtor:    Neighbors Legacy Holdings, Inc.                                                             Case number (if known):      18-33836
               Name

Part 3:      Accounts receivable

10. Does the debtor have any accounts receivable?

     5 No. Go to Part 4.
      Yes. Fill in the information below.
                                                                                                                                         Current value of debtor’s
                                                                                                                                         interest

11. Accounts receivable
                                    Description          face amount                doubtful or uncollectible accounts
    11a.     90 days old or less:                        $                         -$                                       =..... Î     $




    11b.     Over 90 days old:                           $                         -$                                       =..... Î     $


12. Total of Part 3.
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.                                                              $                      0.00




Official Form 206 A/B                             Schedule A/B: Assets - Real and Personal Property                                                  Page 3 of 12
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  Debtor:   Neighbors Legacy Holdings, Inc.                                                         Case number (if known):           18-33836
            Name


Part 4:     Investments

13. Does the debtor own any investments?

     No. Go to Part 5.
    5 Yes. Fill in the information below.
                                                                                             Valuation method used
                                                                                                                   Current value of debtor’s interest
                                                                                             for current value

14. Mutual funds or publicly traded stocks not included in Part 1

    Name of fund or stock:

            14.1 None                                                                                                         $



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture
    Name of entity:                                                   % of ownership:

            15.1 Neighbors Global Holdings, LLC                       100.00%                Book                             $                      Unknown



16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

            16.1 None                                                                                                             $


17. Total of Part 4.
    Add lines 14 through 16. Copy the total to line 83.                                                                       $                           0.00




Official Form 206 A/B                         Schedule A/B: Assets - Real and Personal Property                                                  Page 4 of 12
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  Debtor:    Neighbors Legacy Holdings, Inc.                                                              Case number (if known):   18-33836
              Name


Part 5:       Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?
     5 No. Go to Part 6.
      Yes. Fill in the information below.

                                                                             Net book value of debtor's
                                                        Date of the last                                      Valuation method used          Current value of debtor’s
     General description                                                     interest
                                                        physical inventory                                    for current value              interest
                                                                             (Where available)

19. Raw materials
                                                                             $                                                               $


20. Work in progress
                                                                             $                                                               $


21. Finished goods, including goods held for resale
                                                                             $                                                               $


22. Other inventory or supplies
                                                                              $                                                              $


 23. Total of Part 5.
     Add lines 19 through 22. Copy the total to line 84.                                                                                 $                          0.00


24. Is any of the property listed in Part 5 perishable?
      No
      Yes


25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
      No
           Yes. Description                   Book value $                         Valuation method                        Current value $



 26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
      No
      Yes




Official Form 206 A/B                           Schedule A/B: Assets - Real and Personal Property                                                    Page 5 of 12
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   Debtor:   Neighbors Legacy Holdings, Inc.                                                              Case number (if known):       18-33836
               Name


Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
 27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     5 No. Go to Part 7.
      Yes. Fill in the information below.

                                                                         Net book value of debtor's      Valuation method
     General description                                                 interest                        used for current           Current value of debtor’s interest
                                                                         (Where available)               value
 28. Crops—either planted or harvested
                                                                         $                                                          $


 29. Farm animals Examples: Livestock, poultry, farm-raised fish
                                                                         $                                                          $


 30. Farm machinery and equipment (Other than titled motor vehicles)
                                                                         $                                                          $


 31. Farm and fishing supplies, chemicals, and feed
                                                                         $                                                          $


 32. Other farming and fishing-related property not already listed in Part 6
                                                                         $                                                          $

 33. Total of Part 6.
     Add lines 28 through 32. Copy the total to line 85.                                                                            $                               0.00


 34. Is the debtor a member of an agricultural cooperative?
      No
      Yes. Is any of the debtor’s property stored at the cooperative?
           No
           Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         No
      Yes. Description                        Book value $                           Valuation method                       Current value $




 36. Is a depreciation schedule available for any of the property listed in Part 6?
      No
      Yes

 37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
      No
      Yes




Official Form 206 A/B                            Schedule A/B: Assets - Real and Personal Property                                                   Page 6 of 12
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  Debtor:   Neighbors Legacy Holdings, Inc.                                                            Case number (if known):   18-33836
            Name


 Part 7:    Office furniture, fixtures, and equipment; and collectibles
 38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
     5No. Go to Part 8.
     Yes. Fill in the information below.

                                                                     Net book value of debtor's
                                                                                                  Valuation method used for           Current value of debtor’s
     General description                                             interest
                                                                                                  current value                       interest
                                                                     (Where available)
 39. Office furniture

                                                                     $                                                                $


 40. Office fixtures

                                                                     $                                                                $


 41. Office equipment, including all computer equipment and
     communication systems equipment and software

                                                                     $                                                                $


 42. Collectibles Examples: Antiques and figurines; paintings,prints, or other artwork;
     books, pictures, or other art objects; china and crystal; stamp, coin, or baseball
     card collections; other collections, memorabilia, or collectibles

                                                                     $                                                                $


 43. Total of Part 7.
     Add lines 39 through 42. Copy the total to line 86.                                                                              $                       0.00


 44. Is a depreciation schedule available for any of the property listed in Part 7?
     No
     Yes

 45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     No
     Yes




Official Form 206 A/B                         Schedule A/B: Assets - Real and Personal Property                                                Page 7 of 12
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  Debtor:   Neighbors Legacy Holdings, Inc.                                                                Case number (if known):           18-33836
            Name


Part 8:     Machinery, equipment, and vehicles
 46. Does the debtor own or lease any machinery, equipment, or vehicles?
       No. Go to Part 9.
      5 Yes. Fill in the information below.

     General description                                                Net book value of debtor's
                                                                        interest                      Valuation method used
                                                                                                                            Current value of debtor’s interest
     Include year, make, model, and identification numbers (i.e.,                                     for current value
     VIN, HIN, or N-number)                                             (Where available)

 47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
             47.1 None                                                  $                                                                $



 48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
     floating homes, personal watercraft, and fishing vessels
             48.1 None                                              $                                                                $


  49. Aircraft and accessories
             49.1 None                                              $                                                                $


 50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)
             50.1 See Schedule A/B 50 Attachment                    $                        N/A     N/A                             $                            N/A



 51. Total of Part 8.
      Add lines 47 through 50. Copy the total to line 87.                                                                        $                               0.00


 52. Is a depreciation schedule available for any of the property listed in Part 8?
      5 No
       Yes
 53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
      5 No
       Yes




Official Form 206 A/B                         Schedule A/B: Assets - Real and Personal Property                                                         Page 8 of 12
                         Case 18-33836 Document 456 Filed in TXSB on 09/08/18 Page 17 of 52
   Debtor:    Neighbors Legacy Holdings, Inc.                                                                  Case number (if known):   18-33836
               Name

Part 9:      Real property
 54.    Does the debtor own or lease any real property?
        5No. Go to Part 10.
        Yes. Fill in the information below.

55.     Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

        Description and location of property
                                                                                           Net book value of
        Include street address or other description such as           Nature and extent of                                   Valuation method   Current value of
                                                                                           debtor's interest
        Assessor Parcel Number (APN), and type of property (for       debtor’s interest in                                   used for current   debtor’s interest
        example, acreage, factory, warehouse, apartment or office     property                                               value
                                                                                           (Where available)
        building), if available.

               55.1                                                                            $                                                $


56. Total of Part 9.
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.                      $                   0.00


57.     Is a depreciation schedule available for any of the property listed in Part 9?`
        No
        Yes

58.     Has any of the property listed in Part 9 been appraised by a professional within the last year?
        No
        Yes




Official Form 206 A/B                           Schedule A/B: Assets - Real and Personal Property                                                       Page 9 of 12
                        Case 18-33836 Document 456 Filed in TXSB on 09/08/18 Page 18 of 52
  Debtor:   Neighbors Legacy Holdings, Inc.                                                            Case number (if known):   18-33836
            Name



Part 10:    Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?
    5No. Go to Part 11.
    Yes. Fill in the information below.

                                                                       Net book value of debtor's                             Current value of debtor’s
                                                                       interest                        Valuation method
    General description                                                                                                       interest
                                                                       (Where available)               used for current value

60. Patents, copyrights, trademarks, and trade secrets
                                                                       $                                                         $


61. Internet domain names and websites
                                                                       $                                                          $


62. Licenses, franchises, and royalties
                                                                       $                                                          $


63. Customer lists, mailing lists, or other compilations
                                                                       $                                                          $


64. Other intangibles, or intellectual property
                                                                       $                                                          $


65. Goodwill
                                                                       $                                                          $


66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.                                                                           $                   0.00


67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    No
    Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    No
    Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    No
    Yes




Official Form 206 A/B                         Schedule A/B: Assets - Real and Personal Property                                             Page 10 of 12
                         Case 18-33836 Document 456 Filed in TXSB on 09/08/18 Page 19 of 52
   Debtor:   Neighbors Legacy Holdings, Inc.                                                                  Case number (if known):       18-33836
              Name


Part 11:     All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
    No. Go to Part 12.
    5Yes. Fill in the information below.

                                                                                                                                        Current value of debtor’s
                                                                                                                                        interest




71. Notes receivable
     Description (include name of obligor)                 Total face amount           doubtful or uncollectible accounts
             71.1 None                                     $                           -$                                   =.....   Î $


72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)
             72.1 None                                                                  Tax year                                        $


73. Interests in insurance policies or annuities
             73.1 None                                                                                                                  $



74. Causes of action against third parties (whether or not a lawsuit
     has been filed)
             74.1 See Schedule A/B 74 Attachment                                                                                        $                     Unknown

                  Nature of claim

                  Amount requested                         $



 75. Other contingent and unliquidated claims or causes of action of
     every nature, including counterclaims of the debtor and rights to
     set off claims
             75.1 None                                                                                                                  $

                  Nature of claim

                  Amount requested                          $



76. Trusts, equitable or future interests in property
             76.1 None                                                                                                                  $


77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
             77.1 None                                                                                                                  $


 78. Total of Part 11.
     Add lines 71 through 77. Copy the total to line 90.                                                                                $                           0.00



79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    5No
    Yes




Official Form 206 A/B                             Schedule A/B: Assets - Real and Personal Property                                                    Page 11 of 12
                               Case 18-33836 Document 456 Filed in TXSB on 09/08/18 Page 20 of 52
     Debtor:     Neighbors Legacy Holdings, Inc.                                                                                           Case number (if known):       18-33836
                  Name



Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                                                Current value of                         Current value of real
                                                                                                      personal property                        property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                $                         0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                    $                         0.00

82. Accounts receivable. Copy line 12, Part 3.                                                        $                         0.00

83. Investments. Copy line 17, Part 4.                                                                $                         0.00

84. Inventory. Copy line 23, Part 5.                                                                  $                         0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                         $                         0.00

86. Office furniture, fixtures, and equipment; and collectibles.                                      $                         0.00
      Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                         $                         0.00

88. Real property. Copy line 56, Part 9.............................................................................................Î          $                         0.00


89. Intangibles and intellectual property. Copy line 66, Part 10.                                     $                         0.00

90. All other assets. Copy line 78, Part 11.                                                          $                         0.00

                                                                                                      $                          0.00
91. Total. Add lines 80 through 90 for each column...............................91a.                                                   + 91b. $                         0.00


92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................................    $                   0.00




 Official Form 206 A/B                                       Schedule A/B: Assets - Real and Personal Property                                                                      Page 12 of 12
                               Case 18-33836 Document 456 Filed in TXSB on 09/08/18 Page 21 of 52

 Fill in this information to identify the case:

 Debtor Name: In re : Neighbors Legacy Holdings, Inc.

 United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                                Check if this is an
 Case number (if known): 18-33836 (MI)                                                                                                               amended filing


 Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15

 Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
    5 Yes. Fill in all of the information below.

Part 1:      List Creditors Who Have Secured Claims


2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one                          Column A
                                                                                                                                                           Column B
   secured claim, list the creditor separately for each claim.                                                                Amount of claim
                                                                                                                                                           Value of collateral that
                                                                                                                              Do not deduct the
                                                                                                                                                           supports this claim
                                                                                                                              value of collateral.

       2.1 Creditor’s name                                         Describe debtor’s property that is subject to a lien

           BB&T Commercial Equipment Capital Corp.                 Equipment                                              $                Unknown     $                  Unknown
           Creditor's Name

           Creditor’s mailing address
                                                                   Describe the lien
           Notice Name                                             Equipment Lease
           2 Great Valley Parkway
           Street

           Suite 300                                               Is the creditor an insider or related party?
                                                                   5 No
           Malvern                PA                 19355          Yes
           City                  State               ZIP Code


           Country                                                 Is anyone else liable on this claim?
           Creditor’s email address, if known                          No
                                                                   5    Yes. Fill out Schedule H: Codebtors(Official Form 206H).
           Date debt was incurred               Various

           Last 4 digits of account                                As of the petition filing date, the claim is:
           number                                                  Check all that apply.
                                                                   5 Contingent
           Do multiple creditors have an interest in the                Unliquidated
           same property?                                          5
                                                                   5    Disputed
           5        No
                   Yes. Have you already specified the
                    relative priority?

                     No. Specify each creditor, including this
                         creditor, and its relative priority.


                     Yes. The relative priority of creditors is
                         specified on lines

                         2.2




 Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                         Page 1 of 4
                                 Case 18-33836 Document 456 Filed in TXSB on 09/08/18 Page 22 of 52
    Debtor:       Neighbors Legacy Holdings, Inc.                                                                    Case number (if known):      18-33836
                  Name

Part 1:       Additional Page

             Copy this page only if more space is needed. Continue numbering the lines sequentially from                        Column A
                                                                                                                                                             Column B
             the previous page.                                                                                                 Amount of claim
                                                                                                                                                             Value of collateral that
                                                                                                                                Do not deduct the
                                                                                                                                                             supports this claim
                                                                                                                                value of collateral.


          2.2 Creditor’s name                                        Describe debtor’s property that is subject to a lien
             TIAA Commercial Finance Inc. fka EverBank
             Commercial Finance, Inc.                                Equipment                                              $                  Unknown   $                Unknown
             Creditor's Name

             Creditor’s mailing address
                                                                     Describe the lien
             Notice Name                                             Equipment Lease
             10 Waterview Blvd.
             Street

             2nd Floor                                               Is the creditor an insider or related party?
                                                                     5 No
             Parsippany             NJ                 07054          Yes
             City                  State               ZIP Code


             Country                                                 Is anyone else liable on this claim?
             Creditor’s email address, if known                      5    No
                                                                         Yes. Fill out Schedule H: Codebtors(Official Form 206H).
             Date debt was incurred               Various

             Last 4 digits of account                                As of the petition filing date, the claim is:
             number                                                  Check all that apply.
                                                                     5 Contingent
             Do multiple creditors have an interest in the                Unliquidated
             same property?                                          5
                                                                     5    Disputed
              5       No
                     Yes. Have you already specified the
                      relative priority?

                       No. Specify each creditor, including this
                           creditor, and its relative priority.


                       Yes. The relative priority of creditors is
                           specified on lines

                           2.2




 Official Form 206D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                         Page 2 of 4
                                 Case 18-33836 Document 456 Filed in TXSB on 09/08/18 Page 23 of 52
    Debtor:       Neighbors Legacy Holdings, Inc.                                                                    Case number (if known):      18-33836
                  Name

Part 1:       Additional Page

             Copy this page only if more space is needed. Continue numbering the lines sequentially from                        Column A
                                                                                                                                                             Column B
             the previous page.                                                                                                 Amount of claim
                                                                                                                                                             Value of collateral that
                                                                                                                                Do not deduct the
                                                                                                                                                             supports this claim
                                                                                                                                value of collateral.


          2.3 Creditor’s name                                        Describe debtor’s property that is subject to a lien

             Wells Fargo Equipment Finance, Inc.                     Radiology Equipment                                    $                  Unknown   $                Unknown
             Creditor's Name

             Creditor’s mailing address
                                                                     Describe the lien
             Notice Name                                             Equipment Lease
             733 Marquette Avenue
             Street

             Suite 700                                               Is the creditor an insider or related party?
                                                                     5 No
             Minneapolis            MN                 55402          Yes
             City                  State               ZIP Code


             Country                                                 Is anyone else liable on this claim?
             Creditor’s email address, if known                      5    No
                                                                         Yes. Fill out Schedule H: Codebtors(Official Form 206H).
             Date debt was incurred               Various

             Last 4 digits of account                                As of the petition filing date, the claim is:
             number                                                  Check all that apply.
                                                                     5 Contingent
             Do multiple creditors have an interest in the                Unliquidated
             same property?                                          5
                                                                     5    Disputed
              5       No
                     Yes. Have you already specified the
                      relative priority?

                       No. Specify each creditor, including this
                           creditor, and its relative priority.


                       Yes. The relative priority of creditors is
                           specified on lines

                           2.2



          3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional
             Page, if any.                                                                                                  $                     0.00




 Official Form 206D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                         Page 3 of 4
                       Case 18-33836 Document 456 Filed in TXSB on 09/08/18 Page 24 of 52

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1

  List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
  agencies, assignees of claims listed above, and attorneys for secured creditors.

  If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                               On which line in Part 1      Last 4 digits of
  Name and address                                                                                             did you enter the related    account number for
                                                                                                               creditor?                    this entity

                                                                                                               Line
  Name



  Notice Name


  Street




  City                                         State                          ZIP Code



  Country




 Official Form 206D                       Schedule D: Creditors Who Have Claims Secured by Property                                                   Page 4 of 4
                             Case 18-33836 Document 456 Filed in TXSB on 09/08/18 Page 25 of 52

 Fill in this information to identify the case:

 Debtor Name: In re : Neighbors Legacy Holdings, Inc.

 United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                              Check if this is an
 Case number (if known): 18-33836 (MI)                                                                                                            amended filing


 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
 unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
 on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
 (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
 the Additional Page of that Part included in this form.


Part 1:      List All Creditors with PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
     No. Go to Part 2.
     5Yes. Go to Line 2.




  2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
     3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                    Total claim               Priority amount

          2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $              Unknown    $            Unknown
             See Schedule E/F, Part 1 Attachment                      Check all that apply.
             Creditor Name
                                                                      Contingent
                                                                      Unliquidated
             Creditor's Notice name
                                                                      Disputed


             Address                                                  Basis for the claim:




             City                     State        ZIP Code



             Country

             Date or dates debt was incurred


             Last 4 digits of account                                                                                   Is the claim subject to offset?
             number                                                                                                     No

             Specify Code subsection of PRIORITY unsecured                                                              Yes
             claim: 11 U.S.C. § 507(a) ()




 Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 1 of 4
                          Case 18-33836 Document 456 Filed in TXSB on 09/08/18 Page 26 of 52

Part 2:     List All Creditors with NONPRIORITY Unsecured Claims



  3.List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
    claims, fill out and attach the Additional Page of Part 2.

                                                                                                                                   Amount of claim

     3.1 Nonpriority creditor’s name and mailing address                           As of the petition filing date, the claim is:   $                        Unknown
          See Schedule E/F, Part 2 Attachment                                      Check all that apply.
          Creditor Name
                                                                                   Contingent
                                                                                   Unliquidated
          Creditor's Notice name
                                                                                   Disputed
                                                                                   Basis for the claim:
          Address




          City                     State            ZIP Code



          Country

          Date or dates debt was incurred                                          Is the claim subject to offset?
                                                                                   No
          Last 4 digits of account                                                 Yes

          number




 Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                                Page 2 of 4
                         Case 18-33836 Document 456 Filed in TXSB on 09/08/18 Page 27 of 52

Part 3:        List Others to Be Notified About Unsecured Claims
    4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are
       collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the
       next page.


      Name and mailing address                                                   On which line in Part 1 or Part 2 is the      Last 4 digits of account
                                                                                 related creditor (if any) listed?             number, if any


                                                                                 Line
      Name                                                                       Not Listed.Explain

      Notice Name


      Street




      City                       State                ZIP Code



      Country




  Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 3 of 4
                            Case 18-33836 Document 456 Filed in TXSB on 09/08/18 Page 28 of 52

Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

                                                                                                  Total of claim amounts

5a.   Total claims from Part 1                                                            5a.     $                        0.00


5b.   Total claims from Part 2                                                            5b. ¬   $                        0.00




5c.   Total of Parts 1 and 2                                                              5c.     $                        0.00
      Lines 5a + 5b = 5c.




  Official Form 206E/F                Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 4 of 4
                          Case 18-33836 Document 456 Filed in TXSB on 09/08/18 Page 29 of 52


 Fill in this information to identify the case:

 Debtor Name: In re : Neighbors Legacy Holdings, Inc.

 United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                            Check if this is an
 Case number (if known): 18-33836 (MI)                                                                                                            amended filing


 Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15

 Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.


 1.   Does the debtor have any executory contracts or unexpired leases?
      No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
      5Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
      5Form 206A/B).

                                                                                                         State the name and mailing address for all other parties with
 2.   List all contracts and unexpired leases                                                            whom the debtor has an executory contract or unexpired
                                                                                                         lease
              State what the contract or
        2.1                                                                                              See Schedule G Attachment
              lease is for and the nature
              of the debtor’s interest                                                                   Name


                                                                                                         Notice Name



              State the term remaining                                                                   Address



              List the contract number of
              any government contract




                                                                                                         City                             State               ZIP Code


                                                                                                         Country




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                                     Page 1 of 1
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Fill in this information to identify the case:

Debtor Name: In re : Neighbors Legacy Holdings, Inc.

United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                       Check if this is an
Case number (if known): 18-33836 (MI)                                                                                                      amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                              12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.


1.   Does the debtor have any codebtors?
     No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
     5Yes

2.   In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
     Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is
     listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.


            Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                                 Check all schedules
            Name                                Mailing address                                               Name
                                                                                                                                                 that apply:

       2.1 See Schedule H Attachment                                                                                                             D
                                                Street

                                                                                                                                                  E/F


                                                                                                                                                 G



                                                City                    State                  ZIP Code



                                                Country




 Official Form 206H                                                  Schedule H: Codebtors                                                            Page 1 of 1
                        Case 18-33836 Document 456 Filed in TXSB on 09/08/18 Page 31 of 52
Fill in this information to identify the case:

Debtor Name: In re : Neighbors Legacy Holdings, Inc.

United States Bankruptcy Court for the: Southern District of Texas

Case number (if known): 18-33836 (MI)



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.


            Declaration and signature


           I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
           individual serving as a representative of the debtor in this case.

           I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


                Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                Schedule H: Codebtors (Official Form 206H)

                Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                Amended Schedule


                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                Other document that requires a declaration




           I declare under penalty of perjury that the foregoing is true and correct.


           Executed on      09/08/2018                                                  µ   / s / Chad J. Shandler

                            MM / DD / YYYY                                                  Signature of individual signing on behalf of debtor




                                                                                            Chad J. Shandler
                                                                                            Printed name

                                                                                            Chief Restructuring Officer

                                                                                            Position or relationship to debtor




  Official Form 202                                Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                     In re: Neighbors Legacy Holdings, Inc.
                                                Case No. 18-33836
                                                  Schedule A/B 50
                                       Other machinery, fixtures, and equipment
                                                           Net book value of   Valuation method
                                                           debtor's interest   used for current    Current value of
Description                                                (where available)   value               debtor's interest
Central Bank of St. Louis- Leased Equipment- Various IT
products                                                                  N/A N/A                                N/A
BB&T Commercial Equipment Capital Corp.- Leased
Equipment- Various IT products                                            N/A N/A                                N/A
Signature Financial, LLC- Leased Equipment- Various IT
products                                                                  N/A N/A                                N/A
Unifi Equipment Finance, Inc.- Leased Equipment- Various
IT products                                                               N/A N/A                                N/A

Bank of the West- Leased Equipment- Various IT products                   N/A N/A                                N/A
BB&T Commercial Equipment Capital Corp. - Leased
Equipment- CT/Ultrasound/X-Ray                                            N/A N/A                                N/A
BBVA Compass Financial Corporation- Leased Equipment-
CT/Ultrasound/X-Ray                                                       N/A N/A                                N/A
Central Bank of St. Louis- Leased Equipment- Various IT                   N/A N/A                                N/A
Signature Financial, LLC - Leased Equipment- Various IT
products                                                                  N/A N/A                                N/A
TIAA Commercial Finance, Inc.- Leased Equipment-
Various IT products                                                       N/A N/A                                N/A
Unifi Equipment Finance, Inc.- Leased Equipment- Various
IT products                                                               N/A N/A                                N/A
Wells Fargo Equipment Finance, Inc- Leased Equipment-
CT/Ultrasound/X-Ray                                                       N/A N/A                                N/A
Signature Financial, LLC- Leased Equipment- Various IT
products                                                                  N/A N/A                                N/A
                                                  TOTAL:                  N/A             TOTAL:                 N/A




                                                     Page 1 of 1
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                                         In re: Neighbors Legacy Holdings, Inc.
                                                    Case No. 18-33836
                                                     Schedule A/B 74
                                           Causes of action against third parties
Causes of action against third parties (whether or not a lawsuit has                             Amount    Current value of
been filed)                                                              Nature of claim         requested debtor's interest

Cause No. 2017-31786; Neighbors Legacy Holdings, Inc. f/k/a Neighbors
Health System, Inc., Neighbors Health, LLC f/k/a Neighbors Health
System, LLC, NEC Texas City Emergency Center, LP, NEC Tyler
Emergency Center, LP, NEC Eastside Emergency Center, LP, NEC Port
Arthur Emergency Center, LP, NEC Kingwood Emergency Center, LP,
NEC Amarillo Emergency Center, LP, NEC Harlingen Emergency Center,
LP, NEC Brownsville Emergency Center, LP, NEC McAllen Emergency
Center, LP, EDMG, LLC, NEC College Station Emergency Center, LP,
NEC Longview Emergency Center, LP, NEC Bellaire Emergency Center,
LP, NEC Wichita Falls Emergency Center, LP, NEC Texarkana
Emergency Center, LP, Neighbors Global Holdings, LLC, NEC San
Angelo Emergency Center, LP, NEC Lufkin Emergency Center, LP, NEC
Greeley Emergency Center, LP, NEC West Warwick Emergency Center,
LP, NEC Lubbock Emergency Center, LP, Neighbors GP, LLC vs. All
Points Solutions, Inc. d/b/a 3i International, EverBank Commerical
Finance, Inc., Signature Financial, LLC, Susquehanna Commercial             Fraud
Finance, Inc., Central Bank of St. Louis, Unifi Equipment Finance, Inc. and Breach of Contract
Chris Mitchell; 164th Judicial District Court of Harris County, Texas       Unjust Enrichment
                                                                            Equitable Estoppel   N/A                 Unknown

Neighbors Legacy Holdings, Inc., Successor to and d/b/a Neighbors
Health System, Inc., Neighbors GP, LLC, General Partner of NEC
Beaumont Emergency Center, LP, NEC Beaumont Emergency Center,
LP, Setul G. Patel, Dharmesh A. Patel and Paul A. Alleyne vs. Beaumont
Emergency Physicians Associates, PLLC as 72% Majority Member
Derivatively on Behalf of NEC Beaumont Emergency Center, LLC               Breach of Contract
                                                                           Fraud                 N/A                Unknown
                                                                                                    TOTAL:        UNKNOWN




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                                                                                                  In re: Neighbors Legacy Holdings, Inc.
                                                                                                             Case No. 18-33836
                                                                                                              Schedule E/F, Part 1
                                                                                                Creditors Who Have PRIORITY Unsecured Claims




                                                                                                                                                                                                                       Unliquidated
                                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                                      Disputed
                                                                                                                                                 Specify Code                                Subject to
                                                                                                                                                 subsection: 11 §                            offset                                                             Priority
Line   Priority Creditor's Name          Creditor Notice Name Address 1              Address 2          City              State Zip              U.S.C. 507(a)(__)     Basis for claim       (Y/N)                                               Total claim    amount
       Aldine ISD Property Tax Office    Tax Assessor -
   2.1 Julie Gazelas                     Collector            14909 Aldine Westfield                    Houston           TX        77032        11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
       Angelina County Tax Office        Tax Assessor -
   2.2 Billie Page, PCC, CTOP            Collector            PO Box 1344                               Lufkin            TX        75902-1344   11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown

   2.3 Arizona Department of Revenue                            1600 W Monroe Street                    Phoenix           AZ        85007        11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
       Aurora Lozano - Harlingen Tax Tax Assessor -             609 N.77 Sunshine
   2.4 Office                           Collector               Strip                                   Harlignen         TX        78550        11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
                                        Tax Assessor -
   2.5 Bowie Central Appraisal District Collector               PO Box 6527                             Texarkana         TX        75505-6527   11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
       Brazoria County Ro'vin Garrett, Tax Assessor -
   2.6 PCC                              Collector               111 E. Locust                           Angleton          TX        77515        11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
                                        Tax Assessor -
   2.7 Brazos County Kristeen Roe       Collector               4151 County Park Ct.                    Bryan             TX        77802        11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
       Cameron County Tax Office        Tax Assessor -
   2.8 Tony Yzaguirre, Jr               Collector               964 E. Harrison                         Brownsville       TX        78520        11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
       City of EL Paso Maria O.                                                        221 N. Kansas,
   2.9 Pasillas, RTA                    Tax Collector           Wells Fargo Plaza      Suite 300        El Paso           TX        79901        11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown

       City of McAllen Tax Office
  2.10 Rebecca M. Grimes, RTA/RTC                               PO Box 220                              McAllen           TX        78505-0220   11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
       Colorado Department of
  2.11 Revenue                                                  1375 Sherman St                         Denver            CO        80261        11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
       Comptroller of Public Accounts
  2.12 Glenn Hegar                                               P. O. Box 149348                       Austin            TX        78714-9348   11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
                                         San Jacinto Tax Service
  2.13 Crosby MUD                        Company LLC             103 Kerry Rd                           Highlands         TX        77562        11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
       Cypress Fairbanks ISD David       Tax Assessor -          10494 Jones Road,
  2.14 Piwonka                           Collector               Suite 106                              Houston           TX        77065        11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown

       Department of Revenue
  2.15 Services - State of Connecticut                          P.O. Box 2936                           Hartford          CT        06104-2936   11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
       Ector County Appraisal District   Tax Assessor -
  2.16 Anita Campbell                    Collector              1301 E 8th Street                       Odessa            TX        79761-4722   11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
       Glaveston County Cheryle E.       Tax Assessor -         722 Moody (21st
  2.17 Johnson, PCC                      Collector              Street)                                 Galveston         TX        77550        11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
                                         Tax Assessor -
  2.18 Goose Creek CISD                  Collector              PO Box 2805                             Baytown           TX        77522        11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
                                         Tax Assessor -
  2.19 Gregg County Kirk Shields         Collector              PO Box 1431                             Longview          TX        75606-1431   11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
       Harris County Ann Harris          Tax Assessor -
  2.20 Bennett                           Collector              PO Box 4622                             Houston           TX        77210-4622   11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown

  2.21 Harris County Mike Sullivan       Tax Assessor-Collector P.O. Box 3547                           Houston           TX        77253-3547   11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
       Harris County MUD 276 Avik
  2.22 Bonnerjee                         Tax Assessor-Collector PO Box 1819                             Houston           TX        77251-1819   11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
       Hidalgo County Pablo (Paul)       Tax Assessor -
  2.23 Villarreal Jr., PCC               Collector              PO Box 78540                            Edinburg          TX        78540        11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
                                         Tax Assessor -
  2.24 Humble ISD Janice P. Himpele      Collector              PO Box 4020                             Houston           TX        77210        11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
                                                                Internal Revenue
  2.25 Internal Revenue Service          Department of Treasury Service Center                          Ogden             UT        84201        11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown




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                                                                                                    In re: Neighbors Legacy Holdings, Inc.
                                                                                                               Case No. 18-33836
                                                                                                               Schedule E/F, Part 1
                                                                                                 Creditors Who Have PRIORITY Unsecured Claims




                                                                                                                                                                                                                       Unliquidated
                                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                                      Disputed
                                                                                                                                                 Specify Code                                Subject to
                                                                                                                                                 subsection: 11 §                            offset                                                             Priority
Line     Priority Creditor's Name        Creditor Notice Name Address 1                Address 2         City             State Zip              U.S.C. 507(a)(__)     Basis for claim       (Y/N)                                               Total claim    amount
                                         Centralized Insolvency
  2.26   Internal Revenue Service        Operation              PO Box 7346                              Philadelphia     PA        19101-7346   11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
         Jefferson County Allison Nathan Tax Assessor -
  2.27   Getz, P.C.C                     Collector              P.O. Box 2112                            Beumont          TX        77704        11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
         Midland Central Appraisal
  2.28   District                                               4631 Andrews HWY       PO Box 908002     Midland          TX        79708-0002   11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
         Montgomery County Tammy J. Tax Assessor -
  2.29   McRae, PCAC                     Collector              400 N. San Jaconto St.                   Conroe           TX        77301        11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
         New Mexico Taxation and
  2.30   Revenue Department                                     PO Box 630                               Santa Fe         NM        87504-0630   11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
         Orange County Karen Fisher,     Tax Assessor -
  2.31   PCC                             Collector              PO Box 1568                              Orange           TX        77631-1568   11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
  2.32   Pine Tree ISD                   Tax Office             BOX 5878                                 Longview         TX        75608-5878   11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown

  2.33 Potter County Sherri Aylor, PCC                           PO Box 2289                             Amarillo         TX        79105-2289   11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
       Smith County Tax Office Gary
  2.34 B. Barber                                                 PO Box 2011                             Tyler            TX        75710-2011   11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
  2.35 State Comptroller                                         PO Box 149359                           Austin           TX        78714-9359   11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
                                                                                                                                                                       Texas Franchise Tax
  2.36 State Comptroller                                         PO Box 149359                           Austin           TX        78714-9359   11 U.S.C. 507(a)(8)   Payment                   N          X              X            X             Unknown         Unknown
  2.37 State of Rhode Island             Division of Taxation    PO Box 9702                             Providence       RI        02940-9702   11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
       Texas City ISD Tax Office         Tax Assessor -
  2.38 Patricia Collins                  Collector               PO Box 1150                             Texas City       TX        77592-1150   11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
  2.39 Tom Green Appraisal District                              2302 Pulliam Street                     San Angelo       TX        76905        11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
       Travis County Tax Office Bruce    Tax Assessor -
  2.40 Elfant                            Collector               PO Box 149328                           Austin           TX        78714-9328   11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
       Valley Ranch M.U.D #1 Mike                                11500 NW Freeway,
  2.41 Arterburn, Tax A/C                                        Ste 465                                 Houston          TX        77092        11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
  2.42 West Warwick Tax Office           Attn: Rosemarie Silva   Tax Collector           P.O. Box 1341   West Warwick     RI        02893        11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
                                         Tax Assessor -          600 Scott Ave, Suite
  2.43 Wichita County Tommy Smyth        Collector               103                                     Wichita Falls    TX        76301        11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X              X            X             Unknown         Unknown
       Williamson County Tax Office      Tax Assessor -
  2.44 Larry Gaddes                      Collector               904 South Main Street                   Georgetown       TX        78626-5701   11 U.S.C. 507(a)(8)   Potential Tax Claim       N          X           X X                           Unknown        Unknown
                                                                                                                                                                                                                       TOTAL:                       UNKNOWN        UNKNOWN




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                                                                                                         In re: Neighbors Legacy Holdings, Inc.
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                                                                                                                   Schedule E/F, Part 2
                                                                                                   Creditors Who Have NONPRIORITY Unsecured Claims




                                                                                                                                                                                                                                      Unliquidated
                                                                                                                                                                                                                         Contingent


                                                                                                                                                                                                                                                     Disputed
                                                                                                                                                                                                  Date     Basis for                                    Amount of
Line Nonpriority Creditor's Name                           Creditor Notice Name                 Address 1                               Address 2                  City             State Zip     incurred claim                                        claim
3.1 Alcode Plumbing, LLC                                   Attn Bill Richey                     Griffin & Matthews                      400 Neches at Crocket      Beaumont         TX    77701   Various Litigation      X            X              X       Unknown
     All Points Solutions, Inc. d/b/a 3i International,
     EverBank Commercial Finance, Inc., Signature          c/o All Points Solution, Inc. d/b/a 3I
     Financial, LLC, Susquehanna Commercial Finance,       International's and Chris Mitchell's,
     Inc., Central Bank of St. Louis, Unifi Equipment      Attn Bruce C. Morris & Demetri J.                                            5051 Westheimer, Suite
3.2 Finance, Inc. and Chris Mitchell                       Economou                               Kane Russell Coleman Logan PC         1000                       Houston          TX   77056    Various   Litigation    X            X              X         Unknown
     All Points Solutions, Inc. d/b/a 3i International,
     EverBank Commercial Finance, Inc., Signature
     Financial, LLC, Susquehanna Commercial Finance,
     Inc., Central Bank of St. Louis, Unifi Equipment      c/o Central Bank of St. Louis's, Attn                                        6026 Remson Hollow
3.3 Finance, Inc. and Chris Mitchell                       John R. Jones                         J.R. Jones Law PLLC                    Lane                       Katy             TX   77494    Various   Litigation    X            X              X         Unknown
     All Points Solutions, Inc. d/b/a 3i International,
     EverBank Commercial Finance, Inc., Signature          c/o Everbank Commercial Finance
     Financial, LLC, Susquehanna Commercial Finance,       Inc's, Attn David E. Harrell, Jr.,
     Inc., Central Bank of St. Louis, Unifi Equipment      Brandon Renken, Nicholas M.                                                  600 Travis Street, Suite
3.4 Finance, Inc. and Chris Mitchell                       Moore                              Locke Lord LLP                            2800                       Houston          TX   77002    Various   Litigation    X            X              X         Unknown
     All Points Solutions, Inc. d/b/a 3i International,
     EverBank Commercial Finance, Inc., Signature
     Financial, LLC, Susquehanna Commercial Finance,       c/o Signature Financial LLC's, Atn
     Inc., Central Bank of St. Louis, Unifi Equipment      Martha Hardwick Hofmeister,          Shackelford, Bowen, McKinley &          9201 N. Central
3.5 Finance, Inc. and Chris Mitchell                       Frances A. Smith, Hayley Ellison     Norton, LLP                             Expressway, Fourth Floor Dallas             TX   75231    Various   Litigation    X            X              X         Unknown
     All Points Solutions, Inc. d/b/a 3i International,
     EverBank Commercial Finance, Inc., Signature          c/o Susquehanna Commercial
     Financial, LLC, Susquehanna Commercial Finance,       Finance, Inc.'s nka BB&T
     Inc., Central Bank of St. Louis, Unifi Equipment      Commercial Equipment Capital
3.6 Finance, Inc. and Chris Mitchell                       Corp.'s, Attn Barbara Lanza Farley Barbara Lanza Farley PC                   PO Box 53659               Philadelphia     PA   19105    Various   Litigation    X            X              X         Unknown
     All Points Solutions, Inc. d/b/a 3i International,
     EverBank Commercial Finance, Inc., Signature
     Financial, LLC, Susquehanna Commercial Finance,
     Inc., Central Bank of St. Louis, Unifi Equipment      c/o Unifi Equipment Finance, Inc's                                           6th Floor at Ford Field,
3.7 Finance, Inc. and Chris Mitchell                       Attn Joseph J. Shannon               Bodman PLC                              1901 St. Antoine Street    Detroit          MI   48226    Various   Litigation    X            X              X         Unknown
     All Points Solutions, Inc. d/b/a 3i International,
     EverBank Commercial Finance, Inc., Signature
     Financial, LLC, Susquehanna Commercial Finance,       c/o Unifi Equipment Finance, Inc's,                                          Pennzoil Place - South
     Inc., Central Bank of St. Louis, Unifi Equipment      Attn Thomas R. Ajamie, Courtney                                              Tower, 711 Louisiana,
3.8 Finance, Inc. and Chris Mitchell                       Scobie                              Ajamie LLP                               Suite 2150                 Houston          TX   77002    Various   Litigation    X            X              X         Unknown
3.9 Amanda Hanks                                           Attn Robert J. Heil III             The Law Offices of Robert Heil           5262 S. Staples #300       Corpus Christi   TX   78411    Various   Litigation    X            X              X         Unknown
     Ashlynn Foster, by her Next Friend, Kristin Foster,                                       Law Offices of William Kenneth C.        12221 Merit Drive, Suite
3.10 and Kristin Foster, Individually                      Attn William Kenneth C.             Dippel                                   670                        Dallas           TX   75251    Various   Litigation    X            X              X         Unknown
     BB&T Commercial Equipment Capital Corp; fka
     Susquehanna Commercial Finance, Inc.; cp Branch
3.11 Banking and Trust                                     Attn Barbara Lanza Farley            Barbara Lanza Farley PC                 PO Box 53659               Philadelphia     PA   19105    Various   Litigation    X            X              X         Unknown

3.12 Beaumont Emergency Physicians Associates, PLLC Attn Michael J. Lindsay                     Lindsay & Parsons, LLP                  710 North 11th Street      Beaumont         TX   77703    Various   Litigation    X            X              X         Unknown

3.13 Beaumont Emergency Physicians Associates, PLLC Attn Terry W. Wood                 Terry W. Wood PC                                 2530 Calder Avenue         Beaumont         TX   77702    Various   Litigation    X            X              X         Unknown
                                                    Attn Stephen F. Del Sesto, Michael                                                  One Financial Plaza, Suite
3.14 Biotechnology Integration and Management LLC   J. Daly, Nicole Matteo             Pierce Atwood LLP                                2600                       Providence       RI   02903    Various   Litigation    X            X              X         Unknown

                                                           Attn Michael P. Stephens, Sally M.                                           150 N. Meramec Avenue,
3.15 Central Bank of St. Louis                             Sinclair, Katherine I. McLaughlin    Jenkins & Kling, P.C.                   Suite 400              St Louis             MO   63105    Various   Litigation    X            X              X         Unknown




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                                                                                                        In re: Neighbors Legacy Holdings, Inc.
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                                                                                                  Creditors Who Have NONPRIORITY Unsecured Claims




                                                                                                                                                                                                                                    Unliquidated
                                                                                                                                                                                                                      Contingent


                                                                                                                                                                                                                                                   Disputed
                                                                                                                                                                                               Date     Basis for                                             Amount of
Line Nonpriority Creditor's Name                          Creditor Notice Name               Address 1                               Address 2                    City           State Zip     incurred claim                                                 claim
                                                          Attn Richard M. Rollman and Kevin                                          3507 North Campbell
3.16 Colonia Verde Investors, LLC                         J. Kristick                        Bosse Rollman PC                        Avenue, Suite 111            Tucson         AZ    85719   Various   Litigation    X             X              X              Unknown
                                                          Attn Candice C. Smith and Scott T.
3.17 Convergint Technologies LLC                          Citek                              Lamm & Smith, P.C.                      3730 Kirby Dr., Suite 650    Houston        TX    77098   Various   Litigation    X             X              X              Unknown
     Gerald H. Phipps, Inc. d/b/a GH Phipps
3.18 Construction Co.                                     Attn Keith Coulter                   Coulter, P.C.                         3306 Sul Ross Street         Houston        TX    77098   Various   Litigation    X             X              X              Unknown
3.19 GERALD H. PHIPPS. INC.                               Attn Keith Coulter                   Coulter P.C.                          3306 Sul Ross Street         Houston        TX    77098   Various   Litigation    X             X              X              Unknown
                                                          Attn Randall D. Armentrout,
3.20 GreatAmerica Financial Service Corporation           Benjamin P. Roach                    Nyemaster Goode, P.C                  700 Walnut, Suite 1600       Des Moines     IA    50309   Various   Litigation    X             X              X              Unknown
     Harry Leiser, Trustee of the Harry Leiser Revocable
3.21 Trust                                               Attn Kelly M. Fracassa                Naccarato & Fracassa                  96 Franklin Street           Westerly       RI    02891   Various   Litigation    X             X              X              Unknown
3.22 Harry Lieser                                        Attn Kelly M. Fracassa                Naccarato & Fracassa                  96 Franklin Street           Westerly       RI    02891   Various   Litigation    X             X              X              Unknown
                                                         Attn Simon W. Hendershot, III,
                                                         Benjamin L. Hisey, Katie T. Cowart,                                         1800 Bering Drive, Suite
3.23 Infinity Emergency Management Group, LLC            Raymond L. Panneton                   Hendershot, Cannon & Hisey P.C        600                          Houston        TX    77057   Various   Litigation    X             X              X              Unknown
                                                                                                                                     5910 N. Central
3.24 JL Parker Plumbing, Inc.                             Attn Mary Ellen P. Smith             Smith Kendall, PLLC                   Expressway, Suite 925        Dallas         TX    75206   Various   Litigation    X             X              X              Unknown
                                                                                                                                     Bank of America Center,
                                                                                                                                     700 Louisiana Street,
3.25 Michael Heichen and Azalea Saemi                     Attn Mauricio Escobar              Kilpatrick Townsent & Stockton LLP      Suite 4300                   Houston        TX    77002   Various   Litigation    X             X              X              Unknown
                                                          Attn Stephen F. Del Sesto, Michael                                         One Financial Plaza, Suite
3.26 Northern Rhode Island Radiology, LLC                 J. Daly, Nicole Matteo             Pierce Atwood LLP                       2600                         Providence     RI    02903   Various   Litigation    X             X              X              Unknown
     R.G. Brinkmann Company, Inc. d/b/a Brinkman                                                                                     1801 California Street,
3.27 Constructors                                         Attn Michael E. Bonifazi             Kutak Rock, LLP                       Suite 3000                   Denver         CO    80202   Various   Litigation    X             X              X              Unknown
                                                          Attn J. Cary Gray & Michael A.                                             1300 Post Oak Blvd.,
3.28 RKMS Amarillo #2 LLC                                 Ackal, III                           Gray Reed                             Suite 2000                   Houston        TX    77056   Various   Litigation    X             X              X              Unknown
                                                          Attn Vernon C. Howerton, Jr. &                                             1601 Elm Street, Suite
3.29 RKMS Amarillo #2 LLC                                 Timothy J. Fandrey                   Gray Reed                             4600                         Dallas         TX    75201   Various   Litigation    X             X              X              Unknown
                                                                                                                                     1470 First Colony Blvd,
3.30 Securranty Inc.                                      Attn Abel Manji                      Hird, Chu & Lawji P.L.L.C             Suite 210                    Sugar Land     TX    77479   Various   Litigation    X             X              X              Unknown
                                                                                                                                                                  Garden City
3.31 Signature Financial LLC                              Attn Robert Michael Tils             Moritt Hock Hamroff & Horowitz LLP 400 Garden City Plaza           Plaza          NY    11530   Various   Litigation    X             X              X              Unknown
                                                          Attn Robert E. Weitzel, John E.                                         2001 Ross Avenue, Suite
3.32 SMTA Financing JV, LLC                               Mitchell                             Akerman LLP                        3600                    Dallas                 TX    75201   Various   Litigation    X             X              X              Unknown
                                                          Attn Robert E. Weitzel, John E.                                         2001 Ross Avenue, Suite
3.33 SMTA Financing JV, LLC                               Mitchell                             Akerman LLP                        3600                    Dallas                 TX    75201   Various   Litigation    X             X              X              Unknown
                                                                                               Gossett, Harrison, Millican &
3.34 Spring Gulch, LLC                                    Attn Wesley M. Giesecke              Stipanovic, P.C.                   P. O. Drawer 911        San Angelo             TX    76902   Various   Litigation    X             X              X              Unknown
     Susan L. Collemer, Susan Collemer, MD, LLC,
     Michael W. Demelis, Kristina E. McAteer, Margaret
     P. Mueller, Sophia G. O'Donnell, Sophia G.
     O'Donnell, MD, LLC, Laura D. Rau, Laura D. Rau       Attn Andrew Berg and Catherine
3.35 MD, LLC, Christopher G. Roloff                       Sammartino                           Sammartino & Berg LLP                 2639 South County Trail      East Greenwich RI    02815   Various   Litigation    X             X              X              Unknown
     The Don Levin Trust, dated August 30, 1991, by its
     Trustees, Thomas P. Gallagher and Thomas D.          Attn Kimberly D. Annello, Scott M.                                         3838 Oak Lawn Avenue,
3.36 Gordon                                               Garelick                             Exall & Wood, PLLC                    Suite 1750                   Dallas         TX    75219   Various   Litigation    X             X              X              Unknown
     TIAA Commercial Finance, Inc. f/k/a EverBank                                                                                    600 Travis Street, Suite
3.37 Commercial Finance, Inc.                             Attn Elizabeth M. Guffy              Locke Lord LLP                        2800                         Houston        TX    77002   Various   Litigation    X             X              X              Unknown
                                                                                                                                     8310 N. Capital of Texas
3.38 UCP Texas Management, Ltd.                           Attn Terry L. Belt                   The Fowler Law Firm, P.C.             Hwy., Suite 1-150            Austin         TX    78731   Various   Litigation    X            X X                            Unknown
                                                                                                                                                                                                                                   TOTAL:                        UNKNOWN




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                                                                                                                     In re: Neighbors Legacy Holdings, Inc.
                                                                                                                                Case No. 18-33836
                                                                                                                                     Schedule G
                                                                                                                      Executory Contracts and Unexpired Leases




                                                                                                                                                                                                                                                                    List the
                                                                                                                                                                                                                                                                    contract
       Name of other parties with whom the                                                                                                                                                                                                         State the term   number of any
       debtor has an executory contract or                                                                                                                                                             State what the contract or lease is for     remaining        government
Line   unexpired lease                          Creditor Notice Name             Address 1                    Address 2               Address 3        City             State   Zip          Country   and the nature of the debtor's interest     (months)         contract
                                                                                                                                                                                                       Business Services Subcontract by and
                                                                                                                                                                                                       between Neighbors Health System, Inc.
                                                                                                                                                                                                       (n/k/a Neighbors Legacy Holdings, Inc.), as
                                                                                                                                                                                                       Manager of NEC Baytown Emergency
                                                                                                                                                                                                       Center, LP, and Neighbors Practice
                                                                                                                                                                                                       Management, LLC, dated effective as of
  2.1 NEC Baytown Emergency Center, LP                                           10800 Richmond Avenue                                                 Houston          TX      77042                  May 1, 2014.                                       N/A            N/A

                                                                                                                                                                                                       Intellectual Property Sublicense Agreement
                                                                                                                                                                                                       dated December 3, 2014 between
                                                                                                                                                                                                       Neighbors Health System, Inc. (n/k/a
                                                                                                                                                                                                       Neighbors Legacy Holdings, Inc.) and NEC
  2.2 NEC Odessa Emergency Center, LP                                            10800 Richmond Avenue                                                 Houston          TX      77042                  Odessa Emergency Center, LP.                      N/A             N/A
                                                                                                                                                                                                       Business Services Subcontract dated June
                                                                                                                                                                                                       1, 2015 between Neighbors Health System,
                                                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings,
                                                                                                                                                                                                       Inc.), as Manager of NEC Orange
                                                                                                                                                                                                       Emergency Center, LP, and Neighbors
  2.3 NEC Orange Emergency Center, LP                                            10800 Richmond Avenue                                                 Houston          TX      77042                  Practice Management, LLC.                         N/A             N/A

                                                                                                                                                                                                       Intellectual Property Sublicense Agreement
                                                                                                                                                                                                       dated August 11, 2014 between Neighbors
                                                                                                                                                                                                       Health System, Inc. (n/k/a Neighbors
                                                                                                                                                                                                       Legacy Holdings, Inc.) and NEC Orange
  2.4 NEC Orange Emergency Center, LP                                            10800 Richmond Avenue                                                 Houston          TX      77042                  Emergency Center, LP.                             N/A             N/A

                                                                                                                                                                                                       Intellectual Property License Agreement by
                                                                                                                                                                                                       and between Neighbors Health System, Inc.
                                                                                                                                                                                                       (n/k/a Neighbors Legacy Holdings, Inc.) and
                                                                                                                                                                                                       NEC Pearland Emergency Center, LP,
  2.5 NEC Pearland Emergency Center, LP                                          10800 Richmond Avenue                                                 Houston          TX      77042                  dated as of January 1, 2014.                      N/A             N/A
                                                Admiral Linen and Uniform
  2.6 Admiral Linen Service, Inc.               Services by Alsco                4353 Baldwin Blvd                                                     Corous Chirsti   TX      78408                  Rental Agreement                                  27              N/A

      ALSCO, Inc. Admiral Linen and Uniform     Attn Diane Webster, Corporate                                                                                                                          Linen And/Or Uniform Rental Service
  2.7 Service, Inc.                             Accounts Service Administrator   HealthAssure by Alsco        2030 Kipling Street                      Houston          TX      77098                  Agreement                                          4              N/A
      Arthur J. Gallagher Brokerage & Risk      Arthur J. Gallagher Brokerage                                                                                                                          Disclosure Letter Premium Finance
  2.8 Management Services, LLC                  Risk Mgmt SVC                    1900 West Loop S Site 1600                                            Houston          TX      77027-3295             Agreement                                          4              N/A
  2.9 Bank of the West                                                           475 Sansome St             19th Floor                                 San Francisco    CA      94111                  Various IT products                             Various           N/A
                                                                                 c/o Susquehanna
      BB&T Commercial Equipment Capital Corp..                                   Commercial Finance, Inc.'s
      f/k/a EverBank Commercial Finance, Inc.                                    nka BB&T Commercial
      (formerly All Points Solution, Inc. d/b/a 3i BB&T Commercial Equipment     Equipment Capital Corp.'s, Barbara Lanza Farley
 2.10 International)                               Capital Corp.                 Attn Barbara Lanza Farley  PC                        PO Box 53659     Philadelphia     PA      19105                                                                    26              N/A

                                                                                                                                                                                                       2004 GE LightSpeed Plus 16 Slice, 2013
                                                                                 Accounts Receivable,                                                                                                  DelWork U-Arm Digital Radiography, 2013
 2.11 BBVA Compass Financial Corporation        Albert Watson                    Equipment Finance Division   PO Box 674355                            Dallas           TX      75267-4355             Mindray M7 Portable Ultrasound                    13              N/A

                                                                                                                                                                                                       2005 GE LightSpeed Plus 16 Slice, 2013
                                                                                 Accounts Receivable,                                                                                                  DelWork U-Arm Digital Radiography, 2013
 2.12 BBVA Compass Financial Corporation        Albert Watson                    Equipment Finance Division   PO Box 674355                            Dallas           TX      75267-4355             Mindray M7 Portable Ultrasound                    13              N/A
                                                                                                                                                                                                       Del Medical Digital U-arm, Mindray DPM
                                                                                 Accounts Receivable,                                                                                                  CS, Mindray M7 Dicom, Central Station
 2.13 BBVA Compass Financial Corporation        Albert Watson                    Equipment Finance Division   PO Box 674355                            Dallas           TX      75267-4355             Network of Hardwi, GS LS 16 Used Tube             20              N/A
                                                                                 Accounts Receivable,                                                                                                  GE 25 KAIC X-Ray, Optima CT520, M7
 2.14 BBVA Compass Financial Corporation        Albert Watson                    Equipment Finance Division   PO Box 674355                            Dallas           TX      75267-4355             Ultrasound System                                 33              N/A

                                                                                                                                                                                                       M7, 15" iClear,SSP, Used CT Lightspeed
                                                                                                                                                                                                       Scanner, (2) GS Proteus XRA 65 KW, GS
                                                                                 Accounts Receivable,                                                                                                  LS 16 used Tube, V10-4s Ultrasonic
 2.15 BBVA Compass Financial Corporation        Albert Watson                    Equipment Finance Division   PO Box 674355                            Dallas           TX      75267-4355             Transducer, DPM CS, 32 chan, 72 hr dis            21              N/A




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                                                                                                                    In re: Neighbors Legacy Holdings, Inc.
                                                                                                                               Case No. 18-33836
                                                                                                                                    Schedule G
                                                                                                                     Executory Contracts and Unexpired Leases




                                                                                                                                                                                                                                                           List the
                                                                                                                                                                                                                                                           contract
       Name of other parties with whom the                                                                                                                                                                                                State the term   number of any
       debtor has an executory contract or                                                                                                                                                     State what the contract or lease is for    remaining        government
Line   unexpired lease                               Creditor Notice Name        Address 1                    Address 2               Address 3       City      State   Zip          Country   and the nature of the debtor's interest    (months)         contract
                                                                                 Accounts Receivable,
 2.16 BBVA Compass Financial Corporation             Albert Watson               Equipment Finance Division   PO Box 674355                           Dallas    TX      75267-4355                                N/A                           N/A             N/A
                                                                                 Accounts Receivable,                                                                                          Refurbished 16 Slice GE Lightspeed,
 2.17 BBVA Compass Financial Corporation             Albert Watson               Equipment Finance Division   PO Box 674355                           Dallas    TX      75267-4355             Accessories to Scanner                           20              N/A
                                                                                 Accounts Receivable,                                                                                          Refurbished 16 Slice GE Lightspeed,
 2.18 BBVA Compass Financial Corporation             Albert Watson               Equipment Finance Division   PO Box 674355                           Dallas    TX      75267-4355             Accessories to Scanner                           20              N/A
                                                                                                                                                                                               Refurbished 16 Slice GE LightSpeed, Del
                                                                                 Accounts Receivable,                                                                                          Medical U-arm, M7 System v4.1 Sales
 2.19 BBVA Compass Financial Corporation             Albert Watson               Equipment Finance Division   PO Box 674355                           Dallas    TX      75267-4355             BOM                                              10              N/A
                                                                                 Accounts Receivable,                                                                                          Refurbished 16 Slice GE LightSpeed, Del
 2.20 BBVA Compass Financial Corporation             Albert Watson               Equipment Finance Division   PO Box 674355                           Dallas    TX      75267-4355             Medical U-arm, Medical Equipment                 10              N/A
                                                                                 Accounts Receivable,                                                                                          Refurbished 2012 GE CT Scanner and
 2.21 BBVA Compass Financial Corporation             Albert Watson               Equipment Finance Division   PO Box 674355                           Dallas    TX      75267-4355             2012 Mindray Ultrasound System                   13              N/A
      Central Bank of St. Louis (formerly All
      Points Solution, Inc. d/b/a 3i International                                                                                                                                             (2) Xerox WC 3655, (1) Xerox WC6655, (1)
      and TIAA Commercial Finance, Inc. f/k/a                                                                                         6026 Remson                                              Xerox Phaser 3325, (1) Xerox Phaser 3320
 2.22 EverBank Commercial Finance, Inc.)             Central Bank of St. Louis   Attn John R. Jones           J.R. Jones Law PLLC     Hollow Lane     Katy      TX      77494                  (2) 097s40625                                    28              N/A
      Central Bank of St. Louis (formerly All
      Points Solution, Inc. d/b/a 3i International
      and TIAA Commercial Finance, Inc. f/k/a                                                                                         6026 Remson
 2.23 EverBank Commercial Finance, Inc.)             Central Bank of St. Louis   Attn John R. Jones           J.R. Jones Law PLLC     Hollow Lane     Katy      TX      77494                  Various IT products                              29              N/A
      Central Bank of St. Louis (formerly All
      Points Solution, Inc. d/b/a 3i International
      and TIAA Commercial Finance, Inc. f/k/a                                                                                         6026 Remson
 2.24 EverBank Commercial Finance, Inc.)             Central Bank of St. Louis   Attn John R. Jones           J.R. Jones Law PLLC     Hollow Lane     Katy      TX      77494                  Various IT products                              33              N/A
      Central Bank of St. Louis (formerly All
      Points Solution, Inc. d/b/a 3i International
      and TIAA Commercial Finance, Inc. f/k/a                                                                                         6026 Remson
 2.25 EverBank Commercial Finance, Inc.)             Central Bank of St. Louis   Attn John R. Jones           J.R. Jones Law PLLC     Hollow Lane     Katy      TX      77494                  Various IT products                              33              N/A
      Central Bank of St. Louis (formerly All
      Points Solution, Inc. d/b/a 3i International
      and TIAA Commercial Finance, Inc. f/k/a                                                                                         6026 Remson
 2.26 EverBank Commercial Finance, Inc.)             Central Bank of St. Louis   Attn John R. Jones           J.R. Jones Law PLLC     Hollow Lane     Katy      TX      77494                  Various IT products                              34              N/A
      Central Bank of St. Louis (formerly All
      Points Solution, Inc. d/b/a 3i International
      and TIAA Commercial Finance, Inc. f/k/a                                                                                         6026 Remson
 2.27 EverBank Commercial Finance, Inc.)             Central Bank of St. Louis   Attn John R. Jones           J.R. Jones Law PLLC     Hollow Lane     Katy      TX      77494                  Various IT products                              34              N/A
      Central Bank of St. Louis (formerly All
      Points Solution, Inc. d/b/a 3i International
      and TIAA Commercial Finance, Inc. f/k/a                                                                                         6026 Remson
 2.28 EverBank Commercial Finance, Inc.)             Central Bank of St. Louis   Attn John R. Jones           J.R. Jones Law PLLC     Hollow Lane     Katy      TX      77494                  Various IT products                              34              N/A
      Comcast Cable Communications
 2.29 Management, LLC                                Attn Franny Lambright       PO Box 660618                                                        Dallas    TX      75266-0618             Internet and cable services                       4              N/A
      Comcast Cable Communications
 2.30 Management, LLC                                Attn Franny Lambright       PO Box 660618                                                        Dallas    TX      75266-0618             Internet and cable services                      11              N/A
      Comcast Cable Communications
 2.31 Management, LLC                                Attn Franny Lambright       PO Box 660618                                                        Dallas    TX      75266-0618             Internet and cable services                      13              N/A
      Comcast Cable Communications
 2.32 Management, LLC                                Attn Franny Lambright       PO Box 660618                                                        Dallas    TX      75266-0618             Internet and cable services                      15              N/A
      Comcast Cable Communications
 2.33 Management, LLC                                Attn Franny Lambright       PO Box 660618                                                        Dallas    TX      75266-0618             Internet and cable services                      13              N/A
      Comcast Cable Communications
 2.34 Management, LLC                                Attn Franny Lambright       PO Box 660618                                                        Dallas    TX      75266-0618             Internet and cable services                      12              N/A
                                                                                                                                                                                               Business Services Subcontract dated June
                                                                                                                                                                                               1, 2015 between Neighbors Health System,
                                                                                                                                                                                               Inc. (n/k/a Neighbors Legacy Holdings,
                                                                                                                                                                                               Inc.), as Manager of NEC Amarillo
                                                                                                                                                                                               Emergency Center, LP, and Neighbors
 2.35 NEC Amarillo Emergency Center, LP                                          10800 Richmond Avenue                                                Houston   TX      77042                  Practice Management, LLC.                        N/A             N/A




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                                                                                                 In re: Neighbors Legacy Holdings, Inc.
                                                                                                            Case No. 18-33836
                                                                                                                 Schedule G
                                                                                                  Executory Contracts and Unexpired Leases




                                                                                                                                                                                                                                   List the
                                                                                                                                                                                                                                   contract
       Name of other parties with whom the                                                                                                                                                                        State the term   number of any
       debtor has an executory contract or                                                                                                                             State what the contract or lease is for    remaining        government
Line   unexpired lease                       Creditor Notice Name   Address 1               Address 2             Address 3        City      State   Zip     Country   and the nature of the debtor's interest    (months)         contract
                                                                                                                                                                       Intellectual Property Sublicense Agreement
                                                                                                                                                                       dated April 21, 2015 between Neighbors
                                                                                                                                                                       Health System, Inc. (n/k/a Neighbors
                                                                                                                                                                       Legacy Holdings, Inc.) and NEC Amarillo
 2.36 NEC Amarillo Emergency Center, LP                             10800 Richmond Avenue                                          Houston   TX      77042             Emergency Center, LP.                             N/A            N/A
                                                                                                                                                                       Management and Administrative Services
                                                                                                                                                                       Agreement by and between Neighbors
                                                                                                                                                                       Health System, Inc. (n/k/a Neighbors
                                                                                                                                                                       Legacy Holdings, Inc.) and NEC Baytown
                                                                                                                                                                       Asset Holdings, LLC, dated effective as of
 2.37 NEC Baytown Asset Holdings, LLC                               10800 Richmond Avenue                                          Houston   TX      77042             November 16, 2015.                                N/A            N/A

                                                                                                                                                                       Intellectual Property Sublicense Agreement
                                                                                                                                                                       by and between Neighbors Health System,
                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings, Inc.)
                                                                                                                                                                       and NEC Baytown Emergency Center, LP,
 2.38 NEC Baytown Emergency Center, LP                              10800 Richmond Avenue                                          Houston   TX      77042             dated as of January 1, 2014.                     N/A             N/A
                                                                                                                                                                       Business Services Subcontract dated May
                                                                                                                                                                       1, 2014 between Neighbors Health System,
                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings,
                                                                                                                                                                       Inc.), as Manager of NEC Beaumont
                                                                                                                                                                       Emergency Center, LP, and Neighbors
 2.39 NEC Beaumont Emergency Center, LP                             10800 Richmond Avenue                                          Houston   TX      77042             Practice Management, LLC.                        N/A             N/A

                                                                                                                                                                       Intellectual Property Sublicense Agreement
                                                                                                                                                                       dated August 8, 2013 between Neighbors
                                                                                                                                                                       Health System, Inc. (n/k/a Neighbors
                                                                                                                                                                       Legacy Holdings, Inc.) and NEC Beaumont
 2.40 NEC Beaumont Emergency Center, LP                             10800 Richmond Avenue                                          Houston   TX      77042             Emergency Center, LP.                            N/A             N/A
                                                                                                                                                                       Business Services Subcontract by and
                                                                                                                                                                       between Neighbors Health System, Inc.
                                                                                                                                                                       (n/k/a Neighbors Legacy Holdings, Inc.), as
                                                                                                                                                                       Manager of NEC Bellaire Emergency
                                                                                                                                                                       Center, LP, and Neighbors Practice
                                                                                                                                                                       Management, LLC, dated effective as of
 2.41 NEC Bellaire Emergency Center, LP                             10800 Richmond Avenue                                          Houston   TX      77042             May 1, 2014.                                     N/A             N/A

                                                                                                                                                                       Intellectual Property Sublicense Agreement
                                                                                                                                                                       by and between Neighbors Health System,
                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings, Inc.)
                                                                                                                                                                       and NEC Bellaire Emergency Center, LP,
 2.42 NEC Bellaire Emergency Center, LP                             10800 Richmond Avenue                                          Houston   TX      77042             dated as of January 1, 2013.                     N/A             N/A
                                                                                                                                                                       Management and Administrative Services
                                                                                                                                                                       Agreement by and between Neighbors
                                                                                                                                                                       Health System, Inc. (n/k/a Neighbors
                                                                                                                                                                       Legacy Holdings, Inc.) and NEC Bellaire
                                                                                                                                                                       Emergency Center, LP, dated effective as
 2.43 NEC Bellaire Emergency Center, LP                             10800 Richmond Avenue                                          Houston   TX      77042             of November 16, 2015.                            N/A             N/A
                                                                                                                                                                       Business Services Subcontract dated June
                                                                                                                                                                       1, 2015 between Neighbors Health System,
                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings,
                                                                                                                                                                       Inc.), as Manager of NEC Brownsville
                                                                                                                                                                       Emergency Center, LP, and Neighbors
 2.44 NEC Brownsville Emergency Center, LP                          10800 Richmond Avenue                                          Houston   TX      77042             Practice Management, LLC.                        N/A             N/A
                                                                                                                                                                       Intellectual Property Sublicense Agreement
                                                                                                                                                                       dated April 21, 2015 between Neighbors
                                                                                                                                                                       Health System, Inc. (n/k/a Neighbors
                                                                                                                                                                       Legacy Holdings, Inc.) and NEC Brownsville
 2.45 NEC Brownsville Emergency Center, LP                          10800 Richmond Avenue                                          Houston   TX      77042             Emergency Center, LP.                            N/A             N/A




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                                                                                                 In re: Neighbors Legacy Holdings, Inc.
                                                                                                            Case No. 18-33836
                                                                                                                 Schedule G
                                                                                                  Executory Contracts and Unexpired Leases




                                                                                                                                                                                                                                    List the
                                                                                                                                                                                                                                    contract
       Name of other parties with whom the                                                                                                                                                                         State the term   number of any
       debtor has an executory contract or                                                                                                                             State what the contract or lease is for     remaining        government
Line   unexpired lease                       Creditor Notice Name   Address 1               Address 2             Address 3        City      State   Zip     Country   and the nature of the debtor's interest     (months)         contract
                                                                                                                                                                       Business Services Subcontract by and
                                                                                                                                                                       between Neighbors Health System, Inc.
                                                                                                                                                                       (n/k/a Neighbors Legacy Holdings, Inc.), as
                                                                                                                                                                       Manager of NEC Crosby Emergency
                                                                                                                                                                       Center, LP, and Neighbors Practice
                                                                                                                                                                       Management, LLC, dated effective as of
 2.46 NEC Crosby Emergency Center, LP                               10800 Richmond Avenue                                          Houston   TX      77042             June 1, 2015.                                      N/A            N/A

                                                                                                                                                                       Intellectual Property Sublicense Agreement
                                                                                                                                                                       by and between Neighbors Health System,
                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings, Inc.)
                                                                                                                                                                       and NEC Crosby Emergency Center, LP,
 2.47 NEC Crosby Emergency Center, LP                               10800 Richmond Avenue                                          Houston   TX      77042             dated as of February 26, 2015.                    N/A             N/A
                                                                                                                                                                       Management and Administrative Services
                                                                                                                                                                       Agreement by and between Neighbors
                                                                                                                                                                       Health System, Inc. (n/k/a Neighbors
                                                                                                                                                                       Legacy Holdings, Inc.) and NEC Crosby
                                                                                                                                                                       Emergency Center, LP, dated effective as
 2.48 NEC Crosby Emergency Center, LP                               10800 Richmond Avenue                                          Houston   TX      77042             of November 16, 2015.                             N/A             N/A
                                                                                                                                                                       Business Services Subcontract dated June
                                                                                                                                                                       1, 2015 between Neighbors Health System,
                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings,
                                                                                                                                                                       Inc.), as Manager of NEC Eastside
                                                                                                                                                                       Emergency Center, LP, and Neighbors
 2.49 NEC Eastside Emergency Center, LP                             10800 Richmond Avenue                                          Houston   TX      77042             Practice Management, LLC.                         N/A             N/A

                                                                                                                                                                       Intellectual Property Sublicense Agreement
                                                                                                                                                                       dated February 26, 2015 between
                                                                                                                                                                       Neighbors Health System, Inc. (n/k/a
                                                                                                                                                                       Neighbors Legacy Holdings, Inc.) and NEC
 2.50 NEC Eastside Emergency Center, LP                             10800 Richmond Avenue                                          Houston   TX      77042             Eastside Emergency Center, LP.                    N/A             N/A
                                                                                                                                                                       Business Services Subcontract dated June
                                                                                                                                                                       1, 2015 between Neighbors Health System,
                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings,
                                                                                                                                                                       Inc.), as Manager of NEC Harlingen
                                                                                                                                                                       Emergency Center, LP, and Neighbors
 2.51 NEC Harlingen Emergency Center, LP                            10800 Richmond Avenue                                          Houston   TX      77042             Practice Management, LLC.                         N/A             N/A

                                                                                                                                                                       Intellectual Property Sublicense Agreement
                                                                                                                                                                       dated November 17, 2014 between
                                                                                                                                                                       Neighbors Health System, Inc. (n/k/a
                                                                                                                                                                       Neighbors Legacy Holdings, Inc.) and NEC
 2.52 NEC Harlingen Emergency Center, LP                            10800 Richmond Avenue                                          Houston   TX      77042             Harlingen Emergency Center, LP.                   N/A             N/A
                                                                                                                                                                       Management and Administrative Services
                                                                                                                                                                       Agreement by and between Neighbors
                                                                                                                                                                       Health System, Inc. (n/k/a Neighbors
                                                                                                                                                                       Legacy Holdings, Inc.) and NEC Kingwood
                                                                                                                                                                       Asset Holdings LLC, dated effective as of
 2.53 NEC Kingwood Asset Holdings LLC                               10800 Richmond Avenue                                          Houston   TX      77042             November 16, 2015.                                N/A             N/A
                                                                                                                                                                       Business Services Subcontract by and
                                                                                                                                                                       between Neighbors Health System, Inc.
                                                                                                                                                                       (n/k/a Neighbors Legacy Holdings, Inc.), as
                                                                                                                                                                       Manager of NEC Kingwood Emergency
                                                                                                                                                                       Center, LP, and Neighbors Practice
                                                                                                                                                                       Management, LLC, dated effective as of
 2.54 NEC Kingwood Emergency Center, L                              10800 Richmond Avenue                                          Houston   TX      77042             May 1, 2014.                                      N/A             N/A

                                                                                                                                                                       Intellectual Property Sublicense Agreement
                                                                                                                                                                       by and between Neighbors Health System,
                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings, Inc.)
                                                                                                                                                                       and NEC Kingwood Emergency Center, LP,
 2.55 NEC Kingwood Emergency Center, LP                             10800 Richmond Avenue                                          Houston   TX      77042             dated as of January 1, 2014.                      N/A             N/A




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                                                                                                 In re: Neighbors Legacy Holdings, Inc.
                                                                                                            Case No. 18-33836
                                                                                                                 Schedule G
                                                                                                  Executory Contracts and Unexpired Leases




                                                                                                                                                                                                                                   List the
                                                                                                                                                                                                                                   contract
       Name of other parties with whom the                                                                                                                                                                        State the term   number of any
       debtor has an executory contract or                                                                                                                             State what the contract or lease is for    remaining        government
Line   unexpired lease                       Creditor Notice Name   Address 1               Address 2             Address 3        City      State   Zip     Country   and the nature of the debtor's interest    (months)         contract
                                                                                                                                                                       Management and Administrative Services
                                                                                                                                                                       Agreement by and between Neighbors
                                                                                                                                                                       Health System, Inc. (n/k/a Neighbors
                                                                                                                                                                       Legacy Holdings, Inc.) and NEC Kingwood
                                                                                                                                                                       Emergency Center, LP, dated effective as
 2.56 NEC Kingwood Emergency Center, LP                             10800 Richmond Avenue                                          Houston   TX      77042             of November 16, 2015.                             N/A            N/A
                                                                                                                                                                       Business Services Subcontract dated June
                                                                                                                                                                       1, 2015 between Neighbors Health System,
                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings,
                                                                                                                                                                       Inc.), as Manager of NEC McAllen
                                                                                                                                                                       Emergency Center, LP, and Neighbors
 2.57 NEC McAllen Emergency Center, LP                              10800 Richmond Avenue                                          Houston   TX      77042             Practice Management, LLC.                         N/A            N/A
                                                                                                                                                                       Intellectual Property Sublicense Agreement
                                                                                                                                                                       dated April 21, 2015 between Neighbors
                                                                                                                                                                       Health System, Inc. (n/k/a Neighbors
                                                                                                                                                                       Legacy Holdings, Inc.) and NEC McAllen
 2.58 NEC McAllen Emergency Center, LP                              10800 Richmond Avenue                                          Houston   TX      77042             Emergency Center, LP.                             N/A            N/A
                                                                                                                                                                       Business Services Subcontract dated June
                                                                                                                                                                       1, 2015 between Neighbors Health System,
                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings,
                                                                                                                                                                       Inc.), as Manager of NEC Midland
                                                                                                                                                                       Emergency Center, LP, and Neighbors
 2.59 NEC Midland Emergency Center, LP                              10800 Richmond Avenue                                          Houston   TX      77042             Practice Management, LLC.                         N/A            N/A

                                                                                                                                                                       Intellectual Property Sublicense Agreement
                                                                                                                                                                       dated December 3, 2014 between
                                                                                                                                                                       Neighbors Health System, Inc. (n/k/a
                                                                                                                                                                       Neighbors Legacy Holdings, Inc.) and NEC
 2.60 NEC Midland Emergency Center, LP                              10800 Richmond Avenue                                          Houston   TX      77042             Midland Emergency Center, LP.                    N/A             N/A
                                                                                                                                                                       Business Services Subcontract dated May
                                                                                                                                                                       1, 2014 between Neighbors Health System,
                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings,
                                                                                                                                                                       Inc.), as Manager of NEC Mueller
                                                                                                                                                                       Emergency Center, LP, and Neighbors
 2.61 NEC Mueller Emergency Center, LP                              10800 Richmond Avenue                                          Houston   TX      77042             Practice Management, LLC.                        N/A             N/A

                                                                                                                                                                       Intellectual Property Sublicense Agreement
                                                                                                                                                                       dated January 1, 2014 between Neighbors
                                                                                                                                                                       Health System, Inc. (n/k/a Neighbors
                                                                                                                                                                       Legacy Holdings, Inc.) and NEC Mueller
 2.62 NEC Mueller Emergency Center, LP                              10800 Richmond Avenue                                          Houston   TX      77042             Emergency Center, LP.                            N/A             N/A
                                                                                                                                                                       Business Services Subcontract dated June
                                                                                                                                                                       1, 2015 between Neighbors Health System,
                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings,
                                                                                                                                                                       Inc.), as Manager of NEC Odessa
                                                                                                                                                                       Emergency Center, LP, and Neighbors
 2.63 NEC Odessa Emergency Center, LP                               10800 Richmond Avenue                                          Houston   TX      77042             Practice Management, LLC.                        N/A             N/A
                                                                                                                                                                       Business Services Subcontract by and
                                                                                                                                                                       between Neighbors Health System, Inc.
                                                                                                                                                                       (n/k/a Neighbors Legacy Holdings, Inc.), as
                                                                                                                                                                       Manager of NEC Pasadena Emergency
                                                                                                                                                                       Center, LP, and Neighbors Practice
                                                                                                                                                                       Management, LLC, dated effective as of
 2.64 NEC Pasadena Emergency Center, LP                             10800 Richmond Avenue                                          Houston   TX      77042             May 1, 2014.                                     N/A             N/A

                                                                                                                                                                       Intellectual Property Sublicense Agreement
                                                                                                                                                                       by and between Neighbors Health System,
                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings, Inc.)
                                                                                                                                                                       and NEC Pasadena Emergency Center, LP,
 2.65 NEC Pasadena Emergency Center, LP                             10800 Richmond Avenue                                          Houston   TX      77042             dated as of January 2, 2014.                     N/A             N/A




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                                                                                                 In re: Neighbors Legacy Holdings, Inc.
                                                                                                            Case No. 18-33836
                                                                                                                 Schedule G
                                                                                                  Executory Contracts and Unexpired Leases




                                                                                                                                                                                                                                    List the
                                                                                                                                                                                                                                    contract
       Name of other parties with whom the                                                                                                                                                                         State the term   number of any
       debtor has an executory contract or                                                                                                                             State what the contract or lease is for     remaining        government
Line   unexpired lease                       Creditor Notice Name   Address 1               Address 2             Address 3        City      State   Zip     Country   and the nature of the debtor's interest     (months)         contract
                                                                                                                                                                       Management and Administrative Services
                                                                                                                                                                       Agreement by and between Neighbors
                                                                                                                                                                       Health System, Inc. (n/k/a Neighbors
                                                                                                                                                                       Legacy Holdings, Inc.) and NEC Pearland
                                                                                                                                                                       Asset Holdings, LLC, dated effective as of
 2.66 NEC Pearland Asset Holdings, LLC                              10800 Richmond Avenue                                          Houston   TX      77042             November 16, 2015.                                 N/A            N/A
                                                                                                                                                                       Business Services Subcontract by and
                                                                                                                                                                       between Neighbors Health System, Inc.
                                                                                                                                                                       (n/k/a Neighbors Legacy Holdings, Inc.), as
                                                                                                                                                                       Manager of NEC Pearland Emergency
                                                                                                                                                                       Center, LP, and Neighbors Practice
                                                                                                                                                                       Management, LLC, dated effective as of
 2.67 NEC Pearland Emergency Center, LP                             10800 Richmond Avenue                                          Houston   TX      77042             May 1, 2014.                                       N/A            N/A
                                                                                                                                                                       Management and Administrative Services
                                                                                                                                                                       Agreement by and between Neighbors
                                                                                                                                                                       Health System, Inc. (n/k/a Neighbors
                                                                                                                                                                       Legacy Holdings, Inc.) and NEC Pearland
                                                                                                                                                                       Emergency Center, LP, dated effective as
 2.68 NEC Pearland Emergency Center, LP                             10800 Richmond Avenue                                          Houston   TX      77042             of November 16, 2015.                              N/A            N/A
                                                                                                                                                                       Business Services Subcontract dated June
                                                                                                                                                                       1, 2015 between Neighbors Health System,
                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings,
                                                                                                                                                                       Inc.), as Manager of NEC Port Arthur
                                                                                                                                                                       Emergency Center, LP, and Neighbors
 2.69 NEC Port Arthur Emergency Center, LP                          10800 Richmond Avenue                                          Houston   TX      77042             Practice Management, LLC.                          N/A            N/A

                                                                                                                                                                       Intellectual Property Sublicense Agreement
                                                                                                                                                                       dated February 13, 2015 between
                                                                                                                                                                       Neighbors Health System, Inc. (n/k/a
                                                                                                                                                                       Neighbors Legacy Holdings, Inc.) and NEC
 2.70 NEC Port Arthur Emergency Center, LP                          10800 Richmond Avenue                                          Houston   TX      77042             Port Arthur Emergency Center, LP.                 N/A             N/A

                                                                                                                                                                       Business Services Subcontract by and
                                                                                                                                                                       between Neighbors Health System, Inc.
                                                                                                                                                                       (n/k/a Neighbors Legacy Holdings, Inc.), as
                                                                                                                                                                       Manager of NEC Porter Emergency Center,
                                                                                                                                                                       LP, and Neighbors Practice Management,
 2.71 NEC Porter Emergency Center, LP                               10800 Richmond Avenue                                          Houston   TX      77042             LLC, dated effective as of June 1, 2015.          N/A             N/A

                                                                                                                                                                       Intellectual Property Sublicense Agreement
                                                                                                                                                                       by and between Neighbors Health System,
                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings, Inc.)
                                                                                                                                                                       and NEC Porter Emergency Center, LP,
 2.72 NEC Porter Emergency Center, LP                               10800 Richmond Avenue                                          Houston   TX      77042             dated as of April 21, 2015.                       N/A             N/A
                                                                                                                                                                       Management and Administrative Services
                                                                                                                                                                       Agreement by and between Neighbors
                                                                                                                                                                       Health System, Inc. (n/k/a Neighbors
                                                                                                                                                                       Legacy Holdings, Inc.) and NEC Porter
                                                                                                                                                                       Emergency Center, LP, dated effective as
 2.73 NEC Porter Emergency Center, LP                               10800 Richmond Avenue                                          Houston   TX      77042             of November 16, 2015.                             N/A             N/A
                                                                                                                                                                       Business Services Subcontract dated July
                                                                                                                                                                       6, 2015 between Neighbors Health System,
                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings,
                                                                                                                                                                       Inc.), as Manager of NEC Texarkana
                                                                                                                                                                       Emergency Center, LP, and Neighbors
 2.74 NEC Texarkana Emergency Center, LP                            10800 Richmond Avenue                                          Houston   TX      77042             Practice Management, LLC.                         N/A             N/A
                                                                                                                                                                       Intellectual Property Sublicense Agreement
                                                                                                                                                                       dated July 6, 2015 between Neighbors
                                                                                                                                                                       Health System, Inc. (n/k/a Neighbors
                                                                                                                                                                       Legacy Holdings, Inc.) and NEC Texarkana
 2.75 NEC Texarkana Emergency Center, LP                            10800 Richmond Avenue                                          Houston   TX      77042             Emergency Center, LP.                             N/A             N/A




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                                                      Case 18-33836 Document 456 Filed in TXSB on 09/08/18 Page 44 of 52
                                                                                                 In re: Neighbors Legacy Holdings, Inc.
                                                                                                            Case No. 18-33836
                                                                                                                 Schedule G
                                                                                                  Executory Contracts and Unexpired Leases




                                                                                                                                                                                                                                    List the
                                                                                                                                                                                                                                    contract
       Name of other parties with whom the                                                                                                                                                                         State the term   number of any
       debtor has an executory contract or                                                                                                                             State what the contract or lease is for     remaining        government
Line   unexpired lease                       Creditor Notice Name   Address 1               Address 2             Address 3        City      State   Zip     Country   and the nature of the debtor's interest     (months)         contract
                                                                                                                                                                       Business Services Subcontract by and
                                                                                                                                                                       between Neighbors Health System, Inc.
                                                                                                                                                                       (n/k/a Neighbors Legacy Holdings, Inc.), as
                                                                                                                                                                       Manager of NEC Yorktown Emergency
                                                                                                                                                                       Center, LP, and Neighbors Practice
                                                                                                                                                                       Management, LLC, dated effective as of
 2.76 NEC Yorktown Emergency Center, LP                             10800 Richmond Avenue                                          Houston   TX      77042             May 1, 2014.                                       N/A            N/A

                                                                                                                                                                       Intellectual Property Sublicense Agreement
                                                                                                                                                                       by and between Neighbors Health System,
                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings, Inc.)
                                                                                                                                                                       and NEC Yorktown Emergency Center, LP,
 2.77 NEC Yorktown Emergency Center, LP                             10800 Richmond Avenue                                          Houston   TX      77042             dated January 1, 2014.                            N/A             N/A
                                                                                                                                                                       Management and Administrative Services
                                                                                                                                                                       Agreement by and between Neighbors
                                                                                                                                                                       Health System, Inc. (n/k/a Neighbors
                                                                                                                                                                       Legacy Holdings, Inc.) and NEC Yorktown
                                                                                                                                                                       Emergency Center, LP, dated effective as
 2.78 NEC Yorktown Emergency Center, LP                             10800 Richmond Avenue                                          Houston   TX      77042             of November 16, 2015.                             N/A             N/A

                                                                                                                                                                       Intellectual Property License Agreement by
                                                                                                                                                                       and between Neighbors Health System, Inc.
                                                                                                                                                                       (n/k/a Neighbors Legacy Holdings, Inc.) and
                                                                                                                                                                       Neighbors Emergency Center, LLC, dated
 2.79 Neighbors Emergency Center, LLC                               10800 Richmond Avenue                                          Houston   TX      77042             as of January 1, 2013.                            N/A             N/A

                                                                                                                                                                       Intellectual Property License Agreement by
                                                                                                                                                                       and between Neighbors Health System, Inc.
                                                                                                                                                                       (n/k/a Neighbors Legacy Holdings, Inc.) and
                                                                                                                                                                       Neighbors Emergency Center, LLC, dated
 2.80 Neighbors Emergency Center, LLC                               10800 Richmond Avenue                                          Houston   TX      77042             as of January 1, 2013.                            N/A             N/A
                                                                                                                                                                       Business Services Subcontract by and
                                                                                                                                                                       between Neighbors Health System, Inc.
                                                                                                                                                                       (n/k/a Neighbors Legacy Holdings, Inc.), as
                                                                                                                                                                       Manager of NEC Baytown Emergency
                                                                                                                                                                       Center, LP, and Neighbors Practice
                                                                                                                                                                       Management, LLC, dated effective as of
 2.81 Neighbors Practice Management, LLC                            10800 Richmond Avenue                                          Houston   TX      77042             May 1, 2014.                                      N/A             N/A
                                                                                                                                                                       Business Services Subcontract by and
                                                                                                                                                                       between Neighbors Health System, Inc.
                                                                                                                                                                       (n/k/a Neighbors Legacy Holdings, Inc.), as
                                                                                                                                                                       Manager of NEC Bellaire Emergency
                                                                                                                                                                       Center, LP, and Neighbors Practice
                                                                                                                                                                       Management, LLC, dated effective as of
 2.82 Neighbors Practice Management, LLC                            10800 Richmond Avenue                                          Houston   TX      77042             May 1, 2014.                                      N/A             N/A
                                                                                                                                                                       Business Services Subcontract by and
                                                                                                                                                                       between Neighbors Health System, Inc.
                                                                                                                                                                       (n/k/a Neighbors Legacy Holdings, Inc.), as
                                                                                                                                                                       Manager of NEC Crosby Emergency
                                                                                                                                                                       Center, LP, and Neighbors Practice
                                                                                                                                                                       Management, LLC, dated effective as of
 2.83 Neighbors Practice Management, LLC                            10800 Richmond Avenue                                          Houston   TX      77042             June 1, 2015.                                     N/A             N/A
                                                                                                                                                                       Business Services Subcontract by and
                                                                                                                                                                       between Neighbors Health System, Inc.
                                                                                                                                                                       (n/k/a Neighbors Legacy Holdings, Inc.), as
                                                                                                                                                                       Manager of NEC Kingwood Emergency
                                                                                                                                                                       Center, LP, and Neighbors Practice
                                                                                                                                                                       Management, LLC, dated effective as of
 2.84 Neighbors Practice Management, LLC                            10800 Richmond Avenue                                          Houston   TX      77042             May 1, 2014.                                      N/A             N/A




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                                                                                                 In re: Neighbors Legacy Holdings, Inc.
                                                                                                            Case No. 18-33836
                                                                                                                 Schedule G
                                                                                                  Executory Contracts and Unexpired Leases




                                                                                                                                                                                                                                    List the
                                                                                                                                                                                                                                    contract
       Name of other parties with whom the                                                                                                                                                                         State the term   number of any
       debtor has an executory contract or                                                                                                                             State what the contract or lease is for     remaining        government
Line   unexpired lease                       Creditor Notice Name   Address 1               Address 2             Address 3        City      State   Zip     Country   and the nature of the debtor's interest     (months)         contract
                                                                                                                                                                       Business Services Subcontract by and
                                                                                                                                                                       between Neighbors Health System, Inc.
                                                                                                                                                                       (n/k/a Neighbors Legacy Holdings, Inc.), as
                                                                                                                                                                       Manager of NEC Pasadena Emergency
                                                                                                                                                                       Center, LP, and Neighbors Practice
                                                                                                                                                                       Management, LLC, dated effective as of
 2.85 Neighbors Practice Management, LLC                            10800 Richmond Avenue                                          Houston   TX      77042             May 1, 2014.                                       N/A            N/A
                                                                                                                                                                       Business Services Subcontract by and
                                                                                                                                                                       between Neighbors Health System, Inc.
                                                                                                                                                                       (n/k/a Neighbors Legacy Holdings, Inc.), as
                                                                                                                                                                       Manager of NEC Pearland Emergency
                                                                                                                                                                       Center, LP, and Neighbors Practice
                                                                                                                                                                       Management, LLC, dated effective as of
 2.86 Neighbors Practice Management, LLC                            10800 Richmond Avenue                                          Houston   TX      77042             May 1, 2014.                                       N/A            N/A

                                                                                                                                                                       Business Services Subcontract by and
                                                                                                                                                                       between Neighbors Health System, Inc.
                                                                                                                                                                       (n/k/a Neighbors Legacy Holdings, Inc.), as
                                                                                                                                                                       Manager of NEC Porter Emergency Center,
                                                                                                                                                                       LP, and Neighbors Practice Management,
 2.87 Neighbors Practice Management, LLC                            10800 Richmond Avenue                                          Houston   TX      77042             LLC, dated effective as of June 1, 2015.          N/A             N/A
                                                                                                                                                                       Business Services Subcontract by and
                                                                                                                                                                       between Neighbors Health System, Inc.
                                                                                                                                                                       (n/k/a Neighbors Legacy Holdings, Inc.), as
                                                                                                                                                                       Manager of NEC Yorktown Emergency
                                                                                                                                                                       Center, LP, and Neighbors Practice
                                                                                                                                                                       Management, LLC, dated effective as of
 2.88 Neighbors Practice Management, LLC                            10800 Richmond Avenue                                          Houston   TX      77042             May 1, 2014.                                      N/A             N/A
                                                                                                                                                                       Business Services Subcontract dated July
                                                                                                                                                                       6, 2015 between Neighbors Health System,
                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings,
                                                                                                                                                                       Inc.), as Manager of NEC Texarkana
                                                                                                                                                                       Emergency Center, LP, and Neighbors
 2.89 Neighbors Practice Management, LLC                            10800 Richmond Avenue                                          Houston   TX      77042             Practice Management, LLC.                         N/A             N/A
                                                                                                                                                                       Business Services Subcontract dated June
                                                                                                                                                                       1, 2015 between Neighbors Health System,
                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings,
                                                                                                                                                                       Inc.), as Manager of NEC Amarillo
                                                                                                                                                                       Emergency Center, LP, and Neighbors
 2.90 Neighbors Practice Management, LLC                            10800 Richmond Avenue                                          Houston   TX      77042             Practice Management, LLC.                         N/A             N/A
                                                                                                                                                                       Business Services Subcontract dated June
                                                                                                                                                                       1, 2015 between Neighbors Health System,
                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings,
                                                                                                                                                                       Inc.), as Manager of NEC Brownsville
                                                                                                                                                                       Emergency Center, LP, and Neighbors
 2.91 Neighbors Practice Management, LLC                            10800 Richmond Avenue                                          Houston   TX      77042             Practice Management, LLC.                         N/A             N/A
                                                                                                                                                                       Business Services Subcontract dated June
                                                                                                                                                                       1, 2015 between Neighbors Health System,
                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings,
                                                                                                                                                                       Inc.), as Manager of NEC Eastside
                                                                                                                                                                       Emergency Center, LP, and Neighbors
 2.92 Neighbors Practice Management, LLC                            10800 Richmond Avenue                                          Houston   TX      77042             Practice Management, LLC.                         N/A             N/A
                                                                                                                                                                       Business Services Subcontract dated June
                                                                                                                                                                       1, 2015 between Neighbors Health System,
                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings,
                                                                                                                                                                       Inc.), as Manager of NEC Harlingen
                                                                                                                                                                       Emergency Center, LP, and Neighbors
 2.93 Neighbors Practice Management, LLC                            10800 Richmond Avenue                                          Houston   TX      77042             Practice Management, LLC.                         N/A             N/A




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                                                                                                                          In re: Neighbors Legacy Holdings, Inc.
                                                                                                                                     Case No. 18-33836
                                                                                                                                          Schedule G
                                                                                                                           Executory Contracts and Unexpired Leases




                                                                                                                                                                                                                                                                          List the
                                                                                                                                                                                                                                                                          contract
       Name of other parties with whom the                                                                                                                                                                                                             State the term     number of any
       debtor has an executory contract or                                                                                                                                                             State what the contract or lease is for         remaining          government
Line   unexpired lease                               Creditor Notice Name             Address 1                    Address 2                  Address 3     City        State   Zip          Country   and the nature of the debtor's interest         (months)           contract
                                                                                                                                                                                                       Business Services Subcontract dated June
                                                                                                                                                                                                       1, 2015 between Neighbors Health System,
                                                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings,
                                                                                                                                                                                                       Inc.), as Manager of NEC McAllen
                                                                                                                                                                                                       Emergency Center, LP, and Neighbors
 2.94 Neighbors Practice Management, LLC                                              10800 Richmond Avenue                                                 Houston     TX      77042                  Practice Management, LLC.                             N/A               N/A
                                                                                                                                                                                                       Business Services Subcontract dated June
                                                                                                                                                                                                       1, 2015 between Neighbors Health System,
                                                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings,
                                                                                                                                                                                                       Inc.), as Manager of NEC Midland
                                                                                                                                                                                                       Emergency Center, LP, and Neighbors
 2.95 Neighbors Practice Management, LLC                                              10800 Richmond Avenue                                                 Houston     TX      77042                  Practice Management, LLC.                             N/A               N/A
                                                                                                                                                                                                       Business Services Subcontract dated June
                                                                                                                                                                                                       1, 2015 between Neighbors Health System,
                                                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings,
                                                                                                                                                                                                       Inc.), as Manager of NEC Odessa
                                                                                                                                                                                                       Emergency Center, LP, and Neighbors
 2.96 Neighbors Practice Management, LLC                                              10800 Richmond Avenue                                                 Houston     TX      77042                  Practice Management, LLC.                             N/A               N/A
                                                                                                                                                                                                       Business Services Subcontract dated June
                                                                                                                                                                                                       1, 2015 between Neighbors Health System,
                                                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings,
                                                                                                                                                                                                       Inc.), as Manager of NEC Orange
                                                                                                                                                                                                       Emergency Center, LP, and Neighbors
 2.97 Neighbors Practice Management, LLC                                              10800 Richmond Avenue                                                 Houston     TX      77042                  Practice Management, LLC.                             N/A               N/A
                                                                                                                                                                                                       Business Services Subcontract dated May
                                                                                                                                                                                                       1, 2014 between Neighbors Health System,
                                                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings,
                                                                                                                                                                                                       Inc.), as Manager of NEC Beaumont
                                                                                                                                                                                                       Emergency Center, LP, and Neighbors
 2.98 Neighbors Practice Management, LLC                                              10800 Richmond Avenue                                                 Houston     TX      77042                  Practice Management, LLC.                             N/A               N/A
                                                                                                                                                                                                       Business Services Subcontract dated May
                                                                                                                                                                                                       1, 2014 between Neighbors Health System,
                                                                                                                                                                                                       Inc. (n/k/a Neighbors Legacy Holdings,
                                                                                                                                                                                                       Inc.), as Manager of NEC Mueller
                                                                                                                                                                                                       Emergency Center, LP, and Neighbors
 2.99 Neighbors Practice Management, LLC                                              10800 Richmond Avenue                                                 Houston     TX      77042                  Practice Management, LLC.                             N/A               N/A
                                                                                                                                                                                                       Physician Credentialing and Privileging
2.100 NightRays, PA d/b/a Rays                       Rays - ATTN Legal Services       10901 W. Toller Dr.          Suite 105                                Littleton   CO      80127                  Agreement                                       Until terminated        N/A
2.101 Omnicell, Inc.                                 Omnicell, Inc                    Attn Accounts Receivable     P.O. Box 204650                          Dallas      TX      75320-4650             Corporate Master Agreement #200298-1            Until terminated        N/A

2.102 Pearland Town Center Limited Partnership Attn Amanda Mull                       CBL #0689                    PO Box 955607                            St Louis    MO      63195                  Lease Agreement                                       17                N/A
      R.G. Brinkmann Company d/b/a Brinkmann                                                                                                                                                           Letter of Intent to enter into a standard AIA
2.103 Constructors                             Attn Matthew Rowe                      3855 Lewiston St             Suite 100                                Aurora      CO      80011                  101 construction agreement                            N/A               N/A
      R.G. Brinkmann Company d/b/a Brinkmann                                                                                                                                                           Standard Form of Agreement Between
2.104 Constructors                             Attn Matthew Rowe                      3855 Lewiston St             Suite 100                                Aurora      CO      80011                  Owner and Contractor                                  N/A               N/A
                                                                                                                                                                                                       Installment Payment Agreement Reference
2.105 SHI International Corp                         Attn Lease Processing Center     1111 Old Eagle School Road                                            Wayne       PA      19087                  SHI 3596 (Support Only)                               11                N/A
      Signature Financial, LLC (formerly TIAA
      Commercial Finance, Inc. f/k/a EverBank                                         Attn Martha Hardwick                                9201 N. Central
      Commercial Finance, Inc. and All Points                                         Hofmeister, Frances A.       Shackelford, Bowen,    Expressway,
2.106 Solution, Inc. d/b/a 3i International)         Signature Financial, LLC         Smith, Hayley Ellison        McKinley & Norton, LLP Fourth Floor      Dallas      TX      75231                  Various IT products                                   36                N/A
      TIAA Commercial Finance, Inc. f/k/a
      EverBank Commercial Finance, Inc.                                                                                                                                                                (1) Xerox 5335, (1) Xerox WC6655XM, (2)
      (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                                600 Travis Street, Suite                                                            Xerox WC3655X (1) Xerox 3325DN, (1)
2.107 International)                                 Eisenger                         Locke Lord LLP               2800                                     Houston     TX      77002                  Xerox Phaser 3320DNI                                  34                N/A
      TIAA Commercial Finance, Inc. f/k/a
      EverBank Commercial Finance, Inc.                                                                                                                                                                (1) Xerox 5335, (1) Xerox WC6655XM, (2)
      (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                                600 Travis Street, Suite                                                            Xerox WC3655X (1) Xerox 3325DN, (1)
2.108 International)                                 Eisenger                         Locke Lord LLP               2800                                     Houston     TX      77002                  Xerox Phaser 3320DNI                                  34                N/A




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                                                                                                                In re: Neighbors Legacy Holdings, Inc.
                                                                                                                           Case No. 18-33836
                                                                                                                                Schedule G
                                                                                                                 Executory Contracts and Unexpired Leases




                                                                                                                                                                                                                                                   List the
                                                                                                                                                                                                                                                   contract
        Name of other parties with whom the                                                                                                                                                                                       State the term   number of any
        debtor has an executory contract or                                                                                                                                           State what the contract or lease is for     remaining        government
Line    unexpired lease                                Creditor Notice Name             Address 1        Address 2                  Address 3     City      State   Zip     Country   and the nature of the debtor's interest     (months)         contract
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.                                                                                                                                             (1) Xerox 5335, (1) Xerox WC6655XM, (2)
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite                                                     Xerox WC3655X (1) Xerox 3325DN, (1)
2.109   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             Xerox Phaser 3320DNI                              34              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite                                                     (1) Xerox Phaser 3320DNI, (2) Xerox 4112,
2.110   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             (1) Xerox WC6655XM, (1)Xerox 3325DN               31              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite                                                     (1) Xerox W7566P, (1) Xerox Colorqube
2.111   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             8700X, (3) Xerox WC4265S                          21              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.                                                                                                                                             (1) Xerox WC5335, (1) Xerox WC6655XM,
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite                                                     (2) Xerox WC3655X (1) Xerox 3325DN, (1)
2.112   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             Xerox Phaser 3320DNI                              36              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.                                                                                                                                             (1) Xerox WC5335, (2) Xerox WC3655X, (1)
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite                                                     Xerox WC6655XM (1) Xerox 3325DN, (1)
2.113   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             Xerox Phaser 3320DNI                              36              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.                                                                                                                                             (1) Xerox WC5335, (2) Xerox WC3655X, (1)
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite                                                     Xerox WC6655XM (1) Xerox 3325DN, (1)
2.114   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             Xerox Phaser 3320DNI                              36              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite                                                     (1) Xerox WC5335, (3) Xerox WC3655X (1)
2.115   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             Xerox 3325DN, (1) Xerox Phaser 3320DNI            37              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.                                                                                                                                             (1) Xerox WC6655XM, (2) Xerox WC3655X
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite                                                     (1) Xerox 3325DN, (1) Xerox Phaser
2.116   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             3320DNI                                           31              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.                                                                                                                                             (1) Xerox WC6655XM, (2) Xerox WC3655X
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite                                                     (1) Xerox 3325DN, (1) Xerox Phaser
2.117   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             3320DNI                                           31              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.                                                                                                                                             (1) Xerox WC6655XM, (2) Xerox WC3655X
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite                                                     (1) Xerox 3325DN, (1) Xerox Phaser
2.118   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             3320DNI                                           31              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.                                                                                                                                             (1) Xerox WC6655XM, (2) Xerox WC3655X,
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite                                                     (1) Xerox 3325DN, 1 Xerox Phaser
2.119   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             3320DNI                                           31              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.                                                                                                                                             (1) Xerox WC6655XM, (2) Xerox
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite                                                     WorkCenter 5335, (1) Xerox 3325DN, (1)
2.120   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             Xerox Phaser 3320DNI                              31              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.                                                                                                                                             (1) Xerox WC6655XM, (2) Xerox
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite                                                     WorkCenter 5335, (1) Xerox 3325DN, (1)
2.121   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             Xerox Phaser 3320DNI                              31              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.                                                                                                                                             (1) Xerox WC6655XM, (2) Xerox
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite                                                     WorkCenter 5335, (1) Xerox 3325DN, (1)
2.122   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             Xerox Phaser 3320DNI                              31              N/A




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                                                                                                                In re: Neighbors Legacy Holdings, Inc.
                                                                                                                           Case No. 18-33836
                                                                                                                                Schedule G
                                                                                                                 Executory Contracts and Unexpired Leases




                                                                                                                                                                                                                                                  List the
                                                                                                                                                                                                                                                  contract
        Name of other parties with whom the                                                                                                                                                                                      State the term   number of any
        debtor has an executory contract or                                                                                                                                           State what the contract or lease is for    remaining        government
Line    unexpired lease                                Creditor Notice Name             Address 1        Address 2                  Address 3     City      State   Zip     Country   and the nature of the debtor's interest    (months)         contract
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.                                                                                                                                             (2) Xerox 3655/XM, (1) Xerox 33215, (1)
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite                                                     Xerox 6655/XM, (1) Xerox 3320/DNI, (1)
2.123   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             Xerox 5335/PH                                    36              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite
2.124   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             (2) Xerox D95                                    32              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.                                                                                                                                             (2) Xerox WC 3655, (1) Xerox WC6655, (1)
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite                                                     Xerox Phaser 3325, (1) Xerox Phaser 3320
2.125   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             (2) 097s40625                                    31              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.                                                                                                                                             (2) Xerox WC 3655, (1) Xerox WC6655, (1)
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite                                                     Xerox Phaser 3325, (1) Xerox Phaser 3320
2.126   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             (2) 097s40625                                    31              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.                                                                                                                                             (2) Xerox WC 3655, (1) Xerox WC6655, (1)
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite                                                     Xerox Phaser 3325, (1) Xerox Phaser 3320
2.127   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             (2) 097s40625                                    31              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.                                                                                                                                             (2) Xerox WC 3655, (1) Xerox WC6655, (1)
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite                                                     Xerox Phaser 3325, (1) Xerox Phaser 3320
2.128   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             (2) 097s40625                                    31              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.                                                                                                                                             (2) Xerox WC 3655, (1) Xerox WC6655, (1)
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite                                                     Xerox Phaser 3325, (1) Xerox Phaser 3320
2.129   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             (2) 097s40625                                    31              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.                                                                                                                                             (2) Xerox WC 3655, (1) Xerox WC6655, (1)
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite                                                     Xerox Phaser 3325, (1) Xerox Phaser 3320
2.130   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             (2) 097s40625                                    31              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.                                                                                                                                             (2) Xerox WC 3655, (1) Xerox WC6655, (1)
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite                                                     Xerox Phaser 3325, (1) Xerox Phaser 3320
2.131   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             (2) 097s40625                                    31              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.                                                                                                                                             (2) Xerox WC 3655, (1) Xerox WC6655, (1)
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite                                                     Xerox Phaser 3325, (1) Xerox Phaser 3320
2.132   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             (2) 097s40625                                    31              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.                                                                                                                                             (2) Xerox WC 3655, (1) Xerox WC6655, (1)
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite                                                     Xerox Phaser 3325, (1) Xerox Phaser 3320
2.133   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             (2) 097s40625                                    31              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.                                                                                                                                             (2) Xerox WC 3655, (1) Xerox WC6655, (1)
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite                                                     Xerox Phaser 3325, (1) Xerox Phaser 3320
2.134   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             (2) 097s40625                                    31              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.                                                                                                                                             (2) Xerox WC 3655, (1) Xerox WC6655, (1)
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite                                                     Xerox Phaser 3325, (1) Xerox Phaser 3320
2.135   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             (2) 097s40625                                    31              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.                                                                                                                                             (2) Xerox WC3655X, (1) Xerox WC6655XM
        (formerly All Points Solution, Inc. d/b/a 3i   Elizabeth M. Guffy & Philip G.                    600 Travis Street, Suite                                                     (1) Xerox 3325DN, (1) Xerox Phaser
2.136   International)                                 Eisenger                         Locke Lord LLP   2800                                     Houston   TX      77002             3320DNI                                          20              N/A




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                                                                                                                         In re: Neighbors Legacy Holdings, Inc.
                                                                                                                                    Case No. 18-33836
                                                                                                                                         Schedule G
                                                                                                                          Executory Contracts and Unexpired Leases




                                                                                                                                                                                                                                                                List the
                                                                                                                                                                                                                                                                contract
        Name of other parties with whom the                                                                                                                                                                                                    State the term   number of any
        debtor has an executory contract or                                                                                                                                                        State what the contract or lease is for     remaining        government
Line    unexpired lease                                 Creditor Notice Name             Address 1                Address 2                  Address 3         City      State   Zip     Country   and the nature of the debtor's interest     (months)         contract
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.                                                                                                                                                          (2) Xerox WC6655XM, (2) Xerox WC3655X
        (formerly All Points Solution, Inc. d/b/a 3i    Elizabeth M. Guffy & Philip G.                            600 Travis Street, Suite                                                         (1) Xerox 3325DN, (1) Xerox Phaser
2.137   International)                                  Eisenger                         Locke Lord LLP           2800                                         Houston   TX      77002             3320DNI                                           31              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.                                                                                                                                                          (3) Xerox WC5335 (3) Xerox WC4265 (1)
        (formerly All Points Solution, Inc. d/b/a 3i    Elizabeth M. Guffy & Philip G.                            600 Travis Street, Suite                                                         Xerox Coloeqube 8700XF, (2) Xerox Phaser
2.138   International)                                  Eisenger                         Locke Lord LLP           2800                                         Houston   TX      77002             3320DNI, (1) Xerox 6600DN                         28              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.
        (formerly All Points Solution, Inc. d/b/a 3i    Elizabeth M. Guffy & Philip G.                            600 Travis Street, Suite
2.139   International)                                  Eisenger                         Locke Lord LLP           2800                                         Houston   TX      77002             (40) Xerox Documate 4440                          22              N/A
        TIAA Commercial Finance, Inc. f/k/a
        EverBank Commercial Finance, Inc.
        (formerly All Points Solution, Inc. d/b/a 3i    Elizabeth M. Guffy & Philip G.                            600 Travis Street, Suite
2.140   International)                                  Eisenger                         Locke Lord LLP           2800                                         Houston   TX      77002             (5) Xerox WC5335                                  23              N/A


                                                                                                                                                                                                   (8) CISCO ASA 5506 -X Network Security
                                                                                                                                                                                                   Firewall, (8) CON-SNT -ASA5506K, (8) L-
                                                                                                                                                                                                   ASA5506-SEC-PL, (2) ME46C Samsung
      TIAA Commercial Finance, Inc. f/k/a                                                                                                                                                          ME-C Series 46" Edge-Lit LED Display, (7)
      EverBank Commercial Finance, Inc.                                                                                                                                                            UN55J8500FXZA 55" Samsung 3D 2160P
      (formerly All Points Solution, Inc. d/b/a 3i      Elizabeth M. Guffy & Philip G.                            600 Travis Street, Suite                                                         LED-LCD TV, (3) UN65JS8500FXZA 65"
2.141 International)                                    Eisenger                         Locke Lord LLP           2800                                         Houston   TX      77002             3D 2160p LED-LCD TV                               29              N/A
      TIAA Commercial Finance, Inc. f/k/a
      EverBank Commercial Finance, Inc.
      (formerly All Points Solution, Inc. d/b/a 3i      Elizabeth M. Guffy & Philip G.                            600 Travis Street, Suite
2.142 International)                                    Eisenger                         Locke Lord LLP           2800                                         Houston   TX      77002             Lenovo ThinkCenter M700                           38              N/A
      TIAA Commercial Finance, Inc. f/k/a
      EverBank Commercial Finance, Inc.
      (formerly All Points Solution, Inc. d/b/a 3i      Elizabeth M. Guffy & Philip G.                            600 Travis Street, Suite
2.143 International)                                    Eisenger                         Locke Lord LLP           2800                                         Houston   TX      77002                                   N/A                         N/A             N/A
      TIAA Commercial Finance, Inc. f/k/a
      EverBank Commercial Finance, Inc.
      (formerly All Points Solution, Inc. d/b/a 3i      Elizabeth M. Guffy & Philip G.                            600 Travis Street, Suite
2.144 International)                                    Eisenger                         Locke Lord LLP           2800                                         Houston   TX      77002                                   N/A                         N/A             N/A
      TIAA Commercial Finance, Inc. f/k/a
      EverBank Commercial Finance, Inc.
      (formerly All Points Solution, Inc. d/b/a 3i      Elizabeth M. Guffy & Philip G.                            600 Travis Street, Suite
2.145 International)                                    Eisenger                         Locke Lord LLP           2800                                         Houston   TX      77002             Various IT products                               29              N/A

        Unifi Equipment Finance, Inc. (formerly
        TIAA Commercial Finance, Inc. f/k/a
                                                                                                                                             6th Floor at Ford
        EverBank Commercial Finance, Inc. and All
                                                                                                                                             Field, 1901 St.
        Points Solution, Inc. d/b/a 3i International)
2.146                                                   Unifi Equipment Finance, Inc.    Attn Joseph J. Shannon   Bodman PLC                 Antoine Street    Detroit   MI      48226             Various IT products                               28              N/A

        Unifi Equipment Finance, Inc. (formerly
        TIAA Commercial Finance, Inc. f/k/a
                                                                                                                                             6th Floor at Ford
        EverBank Commercial Finance, Inc. and All
                                                                                                                                             Field, 1901 St.
        Points Solution, Inc. d/b/a 3i International)
2.147                                                   Unifi Equipment Finance, Inc.    Attn Joseph J. Shannon   Bodman PLC                 Antoine Street    Detroit   MI      48226             Various IT products                               29              N/A

        Unifi Equipment Finance, Inc. (formerly
        TIAA Commercial Finance, Inc. f/k/a
                                                                                                                                             6th Floor at Ford
        EverBank Commercial Finance, Inc. and All
                                                                                                                                             Field, 1901 St.
        Points Solution, Inc. d/b/a 3i International)
2.148                                                   Unifi Equipment Finance, Inc.    Attn Joseph J. Shannon   Bodman PLC                 Antoine Street    Detroit   MI      48226             Various IT products                               37              N/A




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                                                                                                                      In re: Neighbors Legacy Holdings, Inc.
                                                                                                                                 Case No. 18-33836
                                                                                                                                      Schedule G
                                                                                                                       Executory Contracts and Unexpired Leases




                                                                                                                                                                                                                                                                   List the
                                                                                                                                                                                                                                                                   contract
        Name of other parties with whom the                                                                                                                                                                                                       State the term   number of any
        debtor has an executory contract or                                                                                                                                                           State what the contract or lease is for     remaining        government
Line    unexpired lease                                 Creditor Notice Name            Address 1                Address 2             Address 3         City          State   Zip          Country   and the nature of the debtor's interest     (months)         contract

        Unifi Equipment Finance, Inc. (formerly
        TIAA Commercial Finance, Inc. f/k/a
                                                                                                                                       6th Floor at Ford
        EverBank Commercial Finance, Inc. and All
                                                                                                                                       Field, 1901 St.
        Points Solution, Inc. d/b/a 3i International)
2.149                                                   Unifi Equipment Finance, Inc.   Attn Joseph J. Shannon   Bodman PLC            Antoine Street    Detroit       MI      48226                  Various IT products                               37              N/A

        Unifi Equipment Finance, Inc. (formerly
        TIAA Commercial Finance, Inc. f/k/a
                                                                                                                                       6th Floor at Ford
        EverBank Commercial Finance, Inc. and All
                                                                                                                                       Field, 1901 St.
        Points Solution, Inc. d/b/a 3i International)
2.150                                                   Unifi Equipment Finance, Inc.   Attn Joseph J. Shannon   Bodman PLC            Antoine Street    Detroit       MI      48226                  Various IT products                               36              N/A

        Unifi Equipment Finance, Inc. (formerly
        TIAA Commercial Finance, Inc. f/k/a
                                                                                                                                       6th Floor at Ford
        EverBank Commercial Finance, Inc. and All
                                                                                                                                       Field, 1901 St.
        Points Solution, Inc. d/b/a 3i International)
2.151                                                   Unifi Equipment Finance, Inc.   Attn Joseph J. Shannon   Bodman PLC            Antoine Street    Detroit       MI      48226                  Various IT products                               36              N/A

        Unifi Equipment Finance, Inc. (formerly
        TIAA Commercial Finance, Inc. f/k/a
                                                                                                                                       6th Floor at Ford
        EverBank Commercial Finance, Inc. and All
                                                                                                                                       Field, 1901 St.
        Points Solution, Inc. d/b/a 3i International)
2.152                                                   Unifi Equipment Finance, Inc.   Attn Joseph J. Shannon   Bodman PLC            Antoine Street    Detroit       MI      48226                  Various IT products                               35              N/A
                                                                                                                                                                                                      Agreement # UHS -09926 Master Services
2.153 Universal Hospital Services, Inc                  Universal Hospital Service      PO Box 86                                                        Minneapolis   MN      55486-0940             Agreement                                          1              N/A
2.154 Ventus Wireless, LLC                                                              10 Norden Place                                                  Norwalk       CT      06855                  4G LTE                                             2              N/A
2.155 Wells Fargo Equipment Finance, Inc                Attn Dale Shores                600 South 4th Street                                             Minneapolis   MN      55415                                      N/A                           N/A             N/A
                                                                                                                                                                                                      Siemens Medical Equipment: (1) Somatom
                                                                                                                                                                                                      Scope CT(1) Acuson P300 Ultra Sound
                                                                                                                                                                                                      System and (1) Multix Fusion - Digital X-
2.156 Wells Fargo Equipment Finance, Inc                Attn Dale Shores                600 South 4th Street                                             Minneapolis   MN      55415                  Ray                                               28              N/A
                                                                                                                                                                                                      Siemens Medical Equipment: (1) Somatom
                                                                                                                                                                                                      Scope CT(1) Acuson P300 Ultra Sound
                                                                                                                                                                                                      System and (1) Multix Fusion - Digital X-
2.157 Wells Fargo Equipment Finance, Inc                Attn Dale Shores                600 South 4th Street                                             Minneapolis   MN      55415                  Ray                                               24              N/A
                                                                                                                                                                                                      Siemens Medical Equipment: (1) Somatom
                                                                                                                                                                                                      Scope CT(1) Acuson P300 Ultra Sound
                                                                                                                                                                                                      System and (1) Multix Fusion - Digital X-
2.158 Wells Fargo Equipment Finance, Inc                Attn Dale Shores                600 South 4th Street                                             Minneapolis   MN      55415                  Ray                                               26              N/A
                                                                                                                                                                                                      Siemens Medical Equipment: (1) Somatom
                                                                                                                                                                                                      Scope CT(1) Acuson P300 Ultra Sound
                                                                                                                                                                                                      System and (1) Multix Fusion - Digital X-
2.159 Wells Fargo Equipment Finance, Inc                Attn Dale Shores                600 South 4th Street                                             Minneapolis   MN      55415                  Ray                                               27              N/A
                                                                                                                                                                                                      Siemens Medical Equipment: (1) Somatom
                                                                                                                                                                                                      Scope CT(1) Acuson P300 Ultra Sound
                                                                                                                                                                                                      System and (1) Multix Fusion - Digital X-
2.160 Wells Fargo Equipment Finance, Inc                Attn Dale Shores                600 South 4th Street                                             Minneapolis   MN      55415                  Ray                                               28              N/A
                                                                                                                                                                                                      Siemens Medical Equipment: (1) Somatom
                                                                                                                                                                                                      Scope CT(1) Acuson P300 Ultra Sound
                                                                                                                                                                                                      System and (1) Multix Fusion - Digital X-
2.161 Wells Fargo Equipment Finance, Inc                Attn Dale Shores                600 South 4th Street                                             Minneapolis   MN      55415                  Ray                                               28              N/A
                                                                                                                                                                                                      Siemens Medical Equipment: (1) Somatom
                                                                                                                                                                                                      Scope CT(1) Acuson P300 Ultra Sound
                                                                                                                                                                                                      System and (1) Multix Fusion - Digital X-
2.162 Wells Fargo Equipment Finance, Inc                Attn Dale Shores                600 South 4th Street                                             Minneapolis   MN      55415                  Ray                                               30              N/A
      Wolters Kluwer Clinical Drug Information,                                                                                                                                                       Wolters Kluwer Clinical Drug Information
2.163 Inc                                               Attn Candice Malensek           1100 Terex Road                                                  Hudson        OH      44236                  Software License Agreement                        11              N/A




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                                                             In re: Neighbors Legacy Holdings, Inc.
                                                                        Case No. 18-33836
                                                                           Schedule H
                                                                           Codebtors

Line      Name of codebtor                             Address 1                 City      State     Zip   Name of creditor                          D   E/F    G
    2.1   NEC Orange Emergency Center, LP              10800 Richmond Avenue     Houston   TX      77042   Bank of the West                                    X
    2.2   Neighbors GP, LLC                            10800 Richmond Avenue     Houston   TX      77042   Bank of the West                                    X
    2.3   EDMG, LLC                                    10800 Richmond Avenue     Houston   TX      77042   BB&T Commercial Equipment Capital Corp.   X
    2.4   NEC Baytown Emergency Center, LP             10800 Richmond Avenue     Houston   TX      77042   BB&T Commercial Equipment Capital Corp.   X
    2.5   NEC Beaumont Emergency Center, LP            10800 Richmond Avenue     Houston   TX      77042   BB&T Commercial Equipment Capital Corp.   X
    2.6   NEC Bellaire Emergency Center, LP            10800 Richmond Avenue     Houston   TX      77042   BB&T Commercial Equipment Capital Corp.   X
    2.7   NEC Crosby Emergency Center, LP              10800 Richmond Avenue     Houston   TX      77042   BB&T Commercial Equipment Capital Corp.   X
    2.8   NEC Kingwood Emergency Center, LP            10800 Richmond Avenue     Houston   TX      77042   BB&T Commercial Equipment Capital Corp.   X
    2.9   NEC Lakeline Emergency Center, LP            10800 Richmond Avenue     Houston   TX      77042   BB&T Commercial Equipment Capital Corp.   X
   2.10   NEC Midland Emergency Center, LP             10800 Richmond Avenue     Houston   TX      77042   BB&T Commercial Equipment Capital Corp.   X
   2.11   NEC Mueller Emergency Center, LP             10800 Richmond Avenue     Houston   TX      77042   BB&T Commercial Equipment Capital Corp.   X
   2.12   NEC Odessa Emergency Center, LP              10800 Richmond Avenue     Houston   TX      77042   BB&T Commercial Equipment Capital Corp.   X
   2.13   NEC Pasadena Emergency Center, LP            10800 Richmond Avenue     Houston   TX      77042   BB&T Commercial Equipment Capital Corp.   X
   2.14   NEC Pearland Emergency Center, LP            10800 Richmond Avenue     Houston   TX      77042   BB&T Commercial Equipment Capital Corp.   X
   2.15   NEC Port Arthur Emergency Center, LP         10800 Richmond Avenue     Houston   TX      77042   BB&T Commercial Equipment Capital Corp.   X
   2.16   NEC Texas City Emergency Center, LP          10800 Richmond Avenue     Houston   TX      77042   BB&T Commercial Equipment Capital Corp.   X
   2.17   NEC Tyler Emergency Center, LP               10800 Richmond Avenue     Houston   TX      77042   BB&T Commercial Equipment Capital Corp.   X
   2.18   NEC Yorktown Emergency Center, LP            10800 Richmond Avenue     Houston   TX      77042   BB&T Commercial Equipment Capital Corp.   X
   2.19   NEC Zaragoza Emergency Center, LP            10800 Richmond Avenue     Houston   TX      77042   BB&T Commercial Equipment Capital Corp.   X
   2.20   Neighbors GP, LLC                            10800 Richmond Avenue     Houston   TX      77042   BB&T Commercial Equipment Capital Corp.   X
   2.21   Neighbors GP, LLC                            10800 Richmond Avenue     Houston   TX      77042   BB&T Commercial Equipment Capital Corp.   X
   2.22   Neighbors Health System, LLC                 10800 Richmond Avenue     Houston   TX      77042   BB&T Commercial Equipment Capital Corp.   X
   2.23   Neighbors Practice Management, LLC           10800 Richmond Avenue     Houston   TX      77042   BB&T Commercial Equipment Capital Corp.   X
   2.24   NEC Amarillo Emergency Center, LP            10800 Richmond Avenue     Houston   TX      77042   Central Bank of St. Louis                           X
   2.25   NEC Brownsville Emergency Center, LP         10800 Richmond Avenue     Houston   TX      77042   Central Bank of St. Louis                           X
   2.26   NEC Harlingen Emergency Center, LP           10800 Richmond Avenue     Houston   TX      77042   Central Bank of St. Louis                           X
   2.27   NEC McAllen Emergency Center, LP             10800 Richmond Avenue     Houston   TX      77042   Central Bank of St. Louis                           X
   2.28   NEC Porter Emergency Center, LP              10800 Richmond Avenue     Houston   TX      77042   Central Bank of St. Louis                           X
   2.29   NEC Texas City Emergency Center, LP          10800 Richmond Avenue     Houston   TX      77042   Central Bank of St. Louis                           X
   2.30   Neighbors GP, LLC                            10800 Richmond Avenue     Houston   TX      77042   Central Bank of St. Louis                           X
   2.31   Neighbors Health System, LLC                 10800 Richmond Avenue     Houston   TX      77042   Central Bank of St. Louis                           X
   2.32   Neighbors Health System, LLC                 10800 Richmond Avenue     Houston   TX      77042   Central Bank of St. Louis                           X
   2.33   NEC Bellaire Emergency Center, LP            10800 Richmond Avenue     Houston   TX      77042   Signature Financial, LLC                            X
   2.34   NEC Brownsville Emergency Center, LP         10800 Richmond Avenue     Houston   TX      77042   Signature Financial, LLC                            X
   2.35   NEC College Station Emergency Center, LP     10800 Richmond Avenue     Houston   TX      77042   Signature Financial, LLC                            X
   2.36   NEC Longview Emergency Center, LP            10800 Richmond Avenue     Houston   TX      77042   Signature Financial, LLC                            X



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                                                             In re: Neighbors Legacy Holdings, Inc.
                                                                        Case No. 18-33836
                                                                           Schedule H
                                                                           Codebtors

Line      Name of codebtor                             Address 1                 City      State     Zip   Name of creditor                            D   E/F    G
   2.37   NEC McAllen Emergency Center, LP             10800 Richmond Avenue     Houston   TX      77042   Signature Financial, LLC                              X
   2.38   NEC Porter Emergency Center, LP              10800 Richmond Avenue     Houston   TX      77042   Signature Financial, LLC                              X
   2.39   NEC Texarkana Emergency Center, LP           10800 Richmond Avenue     Houston   TX      77042   Signature Financial, LLC                              X
   2.40   NEC Wichita Falls Emergency Center, LP       10800 Richmond Avenue     Houston   TX      77042   Signature Financial, LLC                              X
   2.41   Neighbors GP, LLC                            10800 Richmond Avenue     Houston   TX      77042   Signature Financial, LLC                              X
   2.42   Neighbors Health System, LLC                 10800 Richmond Avenue     Houston   TX      77042   Signature Financial, LLC                              X
   2.43   Neighbors Health System, LLC                 10800 Richmond Avenue     Houston   TX      77042   Signature Financial, LLC                              X
   2.44   Neighbors Practice Management, LLC           10800 Richmond Avenue     Houston   TX      77042   Signature Financial, LLC                              X
                                                                                                           TIAA Commercial Finance Inc. fka EverBank
   2.45 NEC Eastside Emergency Center, LP              10800 Richmond Avenue     Houston   TX      77042   Commercial Finance, Inc.                              X
                                                                                                           TIAA Commercial Finance Inc. fka EverBank
   2.46 NEC Eastside Emergency Center, LP              10800 Richmond Avenue     Houston   TX      77042   Commercial Finance, Inc.                              X
                                                                                                           TIAA Commercial Finance Inc. fka EverBank
   2.47 NEC Eastside Emergency Center, LP              10800 Richmond Avenue     Houston   TX      77042   Commercial Finance, Inc.                              X
                                                                                                           TIAA Commercial Finance Inc. fka EverBank
   2.48 Neighbors GP, LLC                              10800 Richmond Avenue     Houston   TX      77042   Commercial Finance, Inc.                              X
                                                                                                           TIAA Commercial Finance Inc. fka EverBank
   2.49 Neighbors Health System, LLC                   10800 Richmond Avenue     Houston   TX      77042   Commercial Finance, Inc.                              X
                                                                                                           TIAA Commercial Finance Inc. fka EverBank
   2.50   Neighbors Health System, LLC                 10800 Richmond Avenue     Houston   TX      77042   Commercial Finance, Inc.                              X
   2.51   EDMG, LLC                                    10800 Richmond Avenue     Houston   TX      77042   Unifi Equipment Finance, Inc.                         X
   2.52   NEC College Station Emergency Center, LP     10800 Richmond Avenue     Houston   TX      77042   Unifi Equipment Finance, Inc.                         X
   2.53   NEC Longview Emergency Center, LP            10800 Richmond Avenue     Houston   TX      77042   Unifi Equipment Finance, Inc.                         X
   2.54   NEC Texarkana Emergency Center, LP           10800 Richmond Avenue     Houston   TX      77042   Unifi Equipment Finance, Inc.                         X
   2.55   NEC Tyler Emergency Center, LP               10800 Richmond Avenue     Houston   TX      77042   Unifi Equipment Finance, Inc.                         X
   2.56   NEC Wichita Falls Emergency Center, LP       10800 Richmond Avenue     Houston   TX      77042   Unifi Equipment Finance, Inc.                         X
   2.57   Neighbors Health System, LLC                 10800 Richmond Avenue     Houston   TX      77042   Unifi Equipment Finance, Inc.                         X




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